Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

B 25C (Official Form 25C) (12/08)

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

Inre Prime Six Inc., d/b/a Woodland NYC ‘ Case No. 4117-40104-CEC

Debtor
Small Business Case under Chapter 11

SMALL BUSINESS MONTHLY OPERATING REPORT

Month: — July 2017 Date filed: 08/21/2017
Line of Business: RESTAURANT & BAR NAISC Code: 722511

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I] DECLARE UNDER PENALTY OF
PERJURY THAT I HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE
ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,
CORRECT AND COMPLETE.

RESPONSIBLE PARTY:

x

Original Signature of Responsible Party

Akiva Ofshtein
Printed Name of Responsible Party

 

Questionnaire: (Al! questions to be answered on behalf of the debtor.) Yes No

1. IS THE BUSINESS STILL OPERATING? vi oO

2. HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH? Vv C

3, DID YOU PAY YOUR EMPLOYEES ON TIME? wi Oo

4. HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO THE DIP ACCOUNT vw CI
THIS MONTH?

5. HAVE YOU FILED ALL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES THIS wi CI
MONTH

6. HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS? vi CO

7. HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH? v1 oO

8. DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH? vi Oo

9. ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE U.S. TRUSTEE? Wi O

10. HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS Oo WI
MONTH?

11. DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS | VI
MONTH?

12. HAS THE BUSINESS SOLD ANY GOODS OR PROVIDED SERVICES OR TRANSFERRED ANY CI V7)
ASSETS TO ANY BUSINESS RELATED TO THE DIP IN ANY WAY?

13. DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT? | WI
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

B 25C (Official Form 25C) (12/08)

14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?

15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?

16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?

17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?

18. HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?

TAXES

DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX

OBLIGATIONS?

IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR

THE PAYMENT.
(Exhibit A)

INCOME

PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE

MAY WAIVE THIS REQUIREMENT.)

TOTAL INCOME

SUMMARY OF CASH ON HAND
Cash on Hand at Start of Month
Cash on Hand at End of Month
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAJLABLE TO YOU TOTAL

(Exhibit B)

EXPENSES

PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT, (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

(Exhibit C)

CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)
EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C)
(Subtract Line C from Line B)

TOTAL EXPENSES

CASH PROFIT FOR THE MONTH

$

F

$

Page 2

ee ee ee
QHAQAH A

304,761.25

6,593.78
2,226.67
2,226.67

339,897.86

304,761.25
339,897.25

-35,136.61
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

Page 3

B 25C (Official Form 25C) (12/08)

UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)

TOTAL PAYABLES $ 0.00

(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)

TOTAL RECEIVABLES $ 0.00
(Exhibit E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT,

 

(Exhibit F)
EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED? 46
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT? 73
PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD? $ 0.00
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING
OF THE CASE? $ 0,00
NON-BANKRUPTCY RELATED:
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD? $ 0.00

TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE? $ 0.00
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

Page 4

B 25C (Official Form 25C) (12/08)

PROJECTIONS

COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

Projected Actual Difference
INCOME $ 1,650,000.00 $ 1,584,190.69 $ -65,809.31
EXPENSES $ 1,452,000.00 $ 1,726,314.55 $ 274,314.55
CASH PROFIT $ 198,000.00 $ -142,123.86 3 -340,123.86
TOTAL PROJECTED INCOME FOR THE NEXT MONTH: $ 300,000.00
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH: $ 296,000.00
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH: $ 4,000.00

ADDITIONAL INFORMATION

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

 

 

 

 

 

4:14 PM Prime Six Inc DBA Woodland 2017
08/18/17 Profit & Loss
Accrual Basis July 2017
Jul 17
Ordinary Income/Expense
Income
Cash deposit 16,500.00
Sales 288,261.25
Total Income 304,761.25
Cost of Goods Sold
BAR
Beer
Joyce Beer Gas 260.00
Manhattan Beer 2,606.14
Total Beer 2,866.14
Beverage
Multi-Flow 3,499.67
Total Beverage 3,499.67
Hard Liquor
Empire Merchants 25,947.15
Southern Wine and Spirit Liquor 14,006.93
Total Hard Liquor 39,954.08
Wine
Southern Wine Spirits -3,025.00
Wine - Other 0.00
Total Wine -3,025.00
Total BAR 43,294.89
Food Purchases
Bindi 923.38
Eli's Bread 2,116.30
Golden Malted 1,600.00
Jetro 22,100.08
Orel 6,562.00
Out of the Blue Seafood 50.00
Pat La Frieda 8,046.80
Food Purchases - Othet 7,503.10
Total Food Purchases 48,901.66
Total COGS 92,196.55
Gross Profit 212,564.70
Expense
Bank Service Charges
Deposited retern Fee
Returned Check Fee __ 100.00
Total Deposited retern Fee 100.00
Bank Service Charges - Other 328.50
Total Bank Service Charges 428.50
Charge back 139.84
Cleaning
Porter 4,500.00
Cleaning - Other 435.28
Total Cleaning 4,935.28

Page 1
Unaudited Statement
4:14 PM

08/18/17
Accrual Basis

Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

Prime Six Inc DBA Woodland 2017

Profit & Loss

July 2017

Computer and Internet Expenses

POS Fee

Total Computer and Internet Expenses

Fire Code

Master Fire Systems INC

Total Fire Code
Garbage

Insurance Expense
Disability Insurance
General Insurance

Insurance Expense - Othe:

Total Insurance Expense

Licenses and Permits
NYC DEPT OF HEALTH

NYC FIRE DEPARTMENT

Total Licenses and Permits

Linen

Merchant account Fee
Office Supplies
Carousel Checking
Office Supplies - Other

Total Office Supplies

Outside Labor 1099
Event Planing

Total Outside Labor 1099

Payroll Expenses

FOH

Hostess

Kitchen

Management

Owner

Taxes

Wages
Other Earnings
Regular Pay
Wages - Other

Total Wages

Payroll Expenses - Other

Total Payroll Expenses

Professional Fees
ADP Weokly Payroll Ch

arge

Professional Fees - Other

Total Professional Fees

Rent Expense
Office Rent
Rent Expense - Othe:

Total Rent Expense
Repairs and Maintenance

Restaurant Consulting

Page 2
Unaudited Statement

Jul 17

 

75.00
75.00

1,321.59
1,321.59
1,045.20

-30.00
1,633.64
5,326.00

6,929.64

280.00
940.00

1,220.00
1,521.81
14,029.95

445.94
219.00

664.94

318.00
318.00

34,237.68
2,131.12
9,824.55
3,949.13
1,180.46
4,229.66

774.00
330.62
212.01

1,316.63
39,366.74
96,235.97

527.32
604.00

1,131.32

5,362.50
21,754.41

27,116.91
1,056.08
1,700.00
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

 

 

 

 

 

4:14 PM Prime Six Inc DBA Woodland 2017
08/18/17 Profit & Loss
Accrual Basis July 2017
Jul 17
Restaurant Supplies
Amex Payment for P6é 0.00
Restaurant Supplies - Othe 2,751.13
Total Restaurant Supplies 2,751.13
Security Company 24,122.00
Taxes Paid
Payroll Taxes
940 FUTA Tax 501.14
941 FICA Exp 12,022.08
NYS UI 6,274.02
Total Payroll Taxes 18,797.24
Total Taxes Paid 18,797.24
Telephone Expense 2.90
Uncategorized Expenses
FedEx 53.00
Uncategorized Expenses - Other 257.34
Total Uncategorized Expenses 310.34
Utilities
ConEd 3,653.07
Utilities - Other 2,090.47
Total Utilities 5,743.54
Total Expense ; 211,597.18
Net Ordinary Income 967.52
Othor Income/Expense
Other Expense
Accrued DIP Accounting Fees 1,635.00
Accrued DIP Legal Fees 600.00
Rent paid pursuant /stip/ Cour - 33,869.13
Total Other Expense 36,104.13
Net Other Income 736,104.13
Net Income -35,136.61

 

 

Page 3
Unaudited Statement
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

Prime Six Inc. Small Business Monthly Operating Report
July 2017
Footnote

The balance sheet is not part of this operating report, as information necessary to provide an accurate
balance is not yet available.
92

40

Docol Filed Oo/éz/lf Entered Voiéciif OY

Case 1-1 /-40104-Ccec

AL02 ‘vb Int - ZbOz ‘EL IN

eseze'ed {\

yusupedag Aq jjosAeg

 

 

eS eze'y- SOxB] pled AURGWOD |e}0])
es6er ly | ss 6erh- wallAadwaun - AN
os'9}- og'9l- BABS JUaWAG|GWIa-3y - AN
bo62- bo6e- (xe, ysue1L) LALLOIN - AN
00'0 00'0 Auedwiog Ayigesiq - AN
£6 ¥Z7'Z- £6 727'Z- Auedwoy AUNIa¢ |eI00S$
2€°0¢¢- 2¢°0¢¢- Auedwod asesipayy
99°ZOL- $9°e0l- WeWAO|GWauy jelope4

 

 

 

Saxe! pieg Auedwoa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

69°L08'6Z 89 1038'6z A@d JON

el0ee f/f /' €L02z i- SoxE| (E}OL
Lo 2- boz- qapisay Ay sleyuo, - AN
EVOL 'L- Ev OEL'L- Bulplouywaa - AN
sole sole ange Awe pled - AN
68°9r- 68 9p- Ayiiqesiq - AN
eg'eze- ce eze- quapisay AYO - AN
86°94Z'Z- 86°9/2'7Z- sefoiduig Aqunsag |eID0g
00°0 00°0 xe] [ppy aefojdw3 aeslpeyy
sg ces- SS ces- aaho|dwy aeolpeyy
00'9S¢'z- o0'9S¢'z- Sulpjoyyaa je1epeg
Saxe]

oLzsg- OL 2g3- suoqsnpag jeEIOL
oneso- ol ess- (S00) Sai] YSED peloday
suononpeq

CS pA9' LE 7S v29'LE sBurwe jej0)
Se pee Se vec SNINIWHL
00'Sc9o 00 S¢9 Avejes
20°Z00'EL 20 Z00'eL sdij yoayohey payoday
01 2zs9 Ol @s9 Sdi[ yseg papodey
OS'SlL OS'SLE AWILYSAO LNAWS9VNVA
o0 Orr 00 0b ATYH LNAWS9DVNVA
9209e"L 92098" IN3SWS5VNVW
eLEle't ELELa'L AWILYSAO NSHOLM
se Leg 8ELZz'9 NSHOLIY
06 SOF 06 SOP SIWLLYSA0 SSALSOH
02 €2r'z OL €zr'z SS31SOH
Og’ZS} OS 451 SWILYSA0 HOSA
es e2'6 €$ t22'6 Ho
SsBUIUES
1E30L 3UON woy [}o1Aeg

 

 

92/2 jUBWed|G Aq |joO1Aeg

9S°0z8'S- cn 9S°0z38'S- Saxe] pled Auedwosg |ejo)
sezio'z- |! é6szlo'e- jWSeWAaWeup - AN
eg'sL- €9'eL- 4 SdIag jUeWAC|dWa-eY - AN
00'0 00°0 Aueduwiod Awiqesig - AN
6° 7e6'Z- 6E'Pe6'Z- Auedwog Auinsas jepos
Le'989- Le'9g9- Auedwod asesipay
FL egL- PE SgL- WUSLUIAG|dWeUy |esepe4
Saxe) pled Auedwios

BS ZHEOE pnp, BT THE'OE Abd 3°N

6sesi's-  // ~ 6 eele- SOxE] Je}OL
LOZ / Lou qyapisay AUS sYeyUGA - AN
OS'€62'L- OS'E6Z'L- BulplouyWAA - AN
£9 yOL- 9 yOL- anea7 Ailey pled - AN
ZO ¥b- ZO br Ayjiqesiq - AN
Lp ogs- LP ogs- juapisay AO - AN
PS LL- pS LE Bulpjouuya - CN
L9'9- +9°9- SMS/SM - TN
S2S\- SLSL- SOUBINSU] BABAaT Ale - PY
LZ 86p'7- L2°86¢'Z- aehoidwg Anaas jeos
00°0 000 xe] [ppy eeXo\dwy aeslpay
by yes- Ly yes- aeho\dwy aesipayy
00'¢P2'Z- 00'eP2'c- BuipjoyyyAa [esapoy
Saxe]

v5 ¥99- ¥S'799- suoyonpag [ejo)
Ss 799- eS Fss- (eso) sdi Uses papoday
suoRonpsg

LY'SZZ'6E Ly S22'6e sBuiwe  |ejo,
o00°s0s 00°90 ONINIVYL
00°Szg oo'sz9 Auejes
yeS9z' PL v2S97'yL Sdi1 yeyokeq payodsy
LS 799 LG 799 sdi| used peyodey
OS SLL OSSLL SWILYSAO LNSAWS9DVNVW
00'0ry 00'0rP ATYH LNAWS9VNVW
vo Lee'b vS Lee'y LNSWS9VNVN
Ov ZsZ'L OrZsZ'L SIWILYSAO NAHOLM
Se 98S'p Sé98S'b NAHOLIM
Or Ssr Or S8r AWILYSAO SSALSOH
00'PLL'Z OO'PZL'Z SS3LSOH
SH LbE St Lee AIWILYSAO HOA
LL 002'6 +L -00¢'6 HO4d
LO‘ese Lo-esz snuog
sbulweg
[EJ] @UuON way |}oAeg

 

6L/2 Juewpedag Aq ]01Aeq

OLesy'e  horesp'e-

b 40 | e6eq

peozs‘vs sdij pabseys jejo)
Se LZe'e} 122M Lda woy sdiy pabeyo
6r vst Ly (9Z/2-L Liz) sdit paBiey5

sexe preg Auedwog [R01

 

Lever l- |
£99b-

00°0

ge Lee'c-
61. Svs-
62'Seh-

Lover L- quaWAO|GWAU - AN
€9 9L- pun  samas juawAojdwa-oy - AN
000 Auedwod Auiqesiq - AN
ge Lee'z- Auedwio9 Aunsag jelDos
6L°SbS- Auedwog auesipayy
6e Sel quewAgdweur jelepeg

 

Og &TH Prbboids

Sexe] pleg Aueduio5

 

 

 

 

 

 

 

 

Cr sgor' le (er esar'e Aedg ION

SZ 9OLP's- GZ OLP's- SOXe] [EO]
06 OL- 06 0L- wWapisay AUD SISUOA - AN
SZ OLb'L- SLOLL'b- Bulpjouuwn - AN
09's oss aaee7 Allwed pled - AN
03°97- 08°St- Ayiigesig - AN
86°262- 86° 262- quapisay AUD - AN
vS bb- SLL Buipjouunan - FN
ce0- ce'0- AMSI/SM - TN
GZ 0- SZ 0- SOUBINSU] BARE] AWE - PN
2€ Bve'e- Le Bve'c- aahojdwz Awnsas jelsog
000 00'0 xe! |ppy eeAojdwy aesipayy
be 6vS- vz 69S- aahojdwy aesipayy
00°29'z- 00°Z9¢'- BulpjoyuA [esepe4
Saxe]

69'S8S- 69S8S- suononpag |F}0)
6g sec- 69 sa9- — (280) Sd] seg papoday
\ suonsnpeq

geoss'6e ge ozs'6e | (fe sBuiweg [E01
vS J06'? pS 206% | Kees
Sb 298"€L sl 2zee'eL | sdi yoayokeg papoday
6€2S9 66 4s9—— sdiJ yseg payodey
60°46S'1 60°46S'L Aunoy (g" LX) SuIaAG
ce-S62'91 ce'S62'9b Aunoy
vESL vESL AWILYAAO HOS
00°0S9'L 00059") HOS
sBunueg
12301 auON way }o1Ae4

 

bb/2 juewjedag Aq |jo1Aeq puel|pooAA

6ee1l AN ‘NATHOOUN
LASYLS H1Zt 3 eeZb
ONI XIS SINE.
Z102Z/SZ/90 0} 2102/61/90 :PoLiad Aed

VLW/Ze - L969EzET L tosAed - J LOZ/OL/Z :a¥ep YOoUD

LSLO -JequnN uny

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

Case 1-1 /-40104-Ccec

 

 

 

 

 

 

 

 

vO-€L 2102/20/80 :Pe}ULg ayeq 02 $0 02 ONI XIS AWId :‘Auedwog
sebey aulog wo14 papnpxg pue saXfojdwig o1 Pled JON Susy] ,,
seKojdwy Oo} pied JON Sway ,
ZL ‘Aueduicg - saeKojduty je}0)
99°680'2$
99°6Z7'r$ Li qepisey
YSALITXeL Awiqow Aig wo, 20°9bZ'seg ZOELS'L
SUBJ JOJNUWO?D 82 v08$ MOEN-LOSEAN O9'E6LS 00°0 Buluresy
86'6e$ O9W - SOEEAN QL9OL'LS AIS AN pamo
ebsoe' ls YS-INS AN AYMVOGAN SS LZE'els 000 sdq pues ypasp
SO'soLs vind aad ao°0Es L8'9zS$ G34 €0°819$ 00°0 »Sdq yseo
Le9zs$ Ys-3ayNvVOGaW G33 Amqesip Aueyunjon 9 7-7S7z'z$ SASOOS G34 6SZEL'LS 0¢'02 SWIHEAD,
AT APAS YaDaSSOS Gad -9E96S‘Ez$ o0°0e$ MOA MEN S9'66E'7$ 11433 BE LLO'LZS LLL b Je;nBay
ssjejoy Auedwosy
22 :ApjeaM - SeeKojdury je}0)
99°680'2$
99°622'r$ ALM qwepisey
MS-LITXeL Auqoy Aig wo, 2O'9LL'Ses$ ZOEL8'L
SUBJ, JayNWWOD 82 r08$ MON- LOSEAN O9'EELS 00°0 Buuresy.
86°6E$ ONSW - SOSEAN QESOL'ES AIS AN pemo
ZL'SOE'LS YFINS AN AYVOGSN Se'EZe’eLs 00°0 sdy pues perp
so’sols vind das 00°0€$ 18°97S$ G34 €0'sL9$ 000 «Sd useg
L8"97S$ Ya-3YVoOGSWN G34 Ayngesip Asequnjoa 9 4-zSz'Z$ O3S90S G34 6S'ZEL'LS 02°02 SWIQIEAD,
OL eS7'7$ Y3-038900$ Gas gE'g6sS‘9Ez$ 00°0e$ HOAMAN S9O'EEE'Z$ 11434 86°LL0°LZ$ LL EpL'L JejnBay

brute) (s(t

TET eps eya)

$}!2}9Q }}o1Aeg

 

rr

Ayaan :sje,0] Aouanbesy feg

 

ees Lire

yee eo
eset ellie te) e

 
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

fj¢PrC_. | SIGNATURE BANK

565 Fifth Avenue, 12" Floor
New York, NY 10017

Statement Period

From July 01, 2017
To July 31, 2017
Page 1 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
primary Account: 1502734241 438

EFFECTIVE AUGUST 1, 2017, WE HAVE REVISED SIGNATURE BANK'S PERSONAL AND
BUSINESS BANK ACCOUNT AGREEMENTS AND DISCLOSURE BOOKLETS. PRINTED, UPDATED
BOOKLETS WILL BE AVAILABLE AT OUR FINANCIAL CENTERS OR AS A PDF FILE ON THE
"AGREEMENTS AND DISCLOSURES" PAGE UNDER 'ABOUT US' AT WWW. SIGNATURENY.COM,

 

BANK DEPOSIT ACCOUNTS
1502734241 BANKRUPTCY CHECKING 156.43 2,226.67

RELATIONSHIP TOTAL 2,226.67
Case 1-1 /-40104-Ccec

Doc ol Filed Volecil/

fj0Pee_. | SIGNATURE BANK

PRIME SIX INC, DBA WOODLAND
DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

BANKRUPTCY CHECKING 1502734241
Summary
Previous Balance as of July Ol, 2017
33 Credits
484 Debits
Ending Balance as of July 31, 2017

Deposits and Other Credits

Jul

Jul

Jul

Jul

Jul

Jul

Jul

Jul
Jul

03

03

05

05

06

07

07

07
10

ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000003315449000008960
ACH DEPOSIT ek/ref no,
MERITCARD MERCH DEP
002 000000000032869569000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000006189199000008960

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP
002 000000000031115969000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 0000000000080706090000086960

ACH DEPOSIT ck/ref no.
ADP TAX ADP TAX

ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000003260959000008960

DEPOSIT
ACH DEPOSIT ck/ref no.
MBERITCARD MERCH DEP

002 000000000003672329000008960

9-421

999

5222002
960000009035908

5227089
960000009035908

5317038
960000009035908

5281016
960000009035908

5424220
960000009035908

5452456
RZMTA 2151393VV
5499257
960000009035908

5557359
960000009035908

entered Voié2i lf OF 40152

Statement Period

From July 01, 2017
To July 31, 2017
Page 2 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account; 1502734241 438

156.43
386,335.15
364,264.91

2,226.67

3,315.44

32,869.56

6,189,19

31,115.96

8,070.60

1,022.94

3,260.95

6,500.00 4
3,672,32
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July 01, 2017
To July 31, 2017
Page 3 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account; 1502734241 438
Jul 10 ACH DEPOSIT ck/ref no, 5579376 24,737.52
MERITCARD MERCH DEP 960000009035908
002 000000000024737529000008960
Jul 11 ACH DEPOSIT ck/ref no. 5641190 26,464.77
MERITCARD MERCH DEP 960000009035908
002 000000000026464779000008960
Jul 12 ACH DEPOSIT ck/ref no. 5683200 1,661.57
MERITCARD MERCH DEP 960000009035908
002 000000000001661579000008960
Jul 12 DEPOSIT 10,000.00
dul 13 ACH DEPOSIT ck/ref no. 5769467 1,655.98
MERITCARD MERCH DEP 960000009035908
002 000000000001655989000008960
Jul 14 ACH DEPOSIT ck/ref no. 5820486 4,401,60
MERITCARD MERCH DEP 960000009035908
002 000000000004401609000008960
gul 17 ACH DEPOSIT ck/ref no. 5862801 4,768.62
MERITCARD MERCH DEP 960000009035908
002 000000000004768629000008960
Jul 17 ACH DEPOSIT ck/ref no. 5917077 34,621.16
MERITCARD MERCH DEP 960000009035908
002 000000000034621169000008960
Jul 17 DEPOSIT 13,000.00
Jul 18 ACH DEPOSIT ck/ref no. 5970827 30,356.65
MERITCARD MERCH DEP 960000009035908
002 000000000030358659000008960
Jul 19 ACH DEPOSIT ck/ref no, 6029033 2,792.85
MERITCARD MERCH DEP 960000009035908
002 000000000002792859000008960
Jul 20 ACH DEPOSIT ck/ref no. 6074313 2,992.90
MERITCARD MERCH DEP 960000009035908
002 000000000002992909000008960
Jul 21 ACH DEPOSIT ek/ref no. 6141942 3,274.78
MERITCARD MERCH DEP 960000009035908
002 000000000003274789000008960
Jul 24 ACH DEPOSIT ck/ref no. 6197179 7,435.09
MERITCARD MERCH DEP 960000009035908
002 000000000007435099000008960
Jul 24 ACH DEPOSIT ck/ref no. 6217428 26,471.05

MERITCARD MERCH DEP 960000009035908
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July O01, 2017
To July 31, 2017
Page 4 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 438
Date Description
002 000000000026471059000008960
Jul 25 ACH DEPOSIT ck/ref no, 6262578 29,895,868
MERITCARD MERCH DEP 960000009035908
002 000000000029895889000008960
Jul 26 ACH DEPOSIT ck/ref no. 6321643 2,080.39
MERITCARD MERCH DEP 960000009035908
002 000000000002080399000008960
Jul 26 DEPOSIT 14,000,00 @
Jul 27 ACH DEPOSIT ck/ref no. 6379145 2,189,32
MERITCARD MERCH DEP 960000009035908
002 000000000002189329000008960
Jul 28 ACH DEPOSIT ck/ref no. 6454659 4,727.42
MERITCARD MERCH DEP 960000009035908
002 000000000004727429000008960
Jul 28 DEPOSIT ref# 3,000.00 ®
Jul 28 DEPOSIT 3,775.00°
Jul 31 ACH DEPOSIT ck/ref no, 6534805 4,086.68
MERITCARD MERCH DEP 960000009035908
002 000000000004086889000008960
Jul 31 ACH DEPOSIT ek/ref no. 6541639 31,926.76
MERITCARD MERCH DEP 960000009035908
002 000000000031926769000008960
Withdrawals and Other Debits
Jul 03 ACH ek/ref no. 5091665 4,911,56
ADP TAX ADP TAX RZMTA 062805A03
Jul 03 AUTOMATED PAYMENT ck/ref no. 5167919 379.54
ADP TAX ADP TAX RZMTA 063006A01
Jul 03 AUTOMATED PAYMENT ck/ref no. 5232350 1,500.00
AMEX EPAYMENT ACH PMT ws182
Jul 03 AUTOMATED PAYMENT ek/ref no, 5218912 6,924,15
MERITCARD FEES 960000009035908
Jul 03 AUTOMATED PAYMENT ck/ref no, 5186649 8,000,00
NYS DTF SALES TAX PAYMNT 000000021129871
Jul 05 OUTGOING WIRE XFER 4,868.04
REFH 20170705B6B7261F001470
TO: ADP ABA: 021001033
BANK: DBTCO AMERICAS NYC ACCT# 00153170
16,573.18

Jul 05 PRE-AUTHORIZED WD
OF

Date
Jul 05

Jul 05
Jul 06

Jul 07
Jul 07

Jul 10
Jul 10
Jul 10

Jul 11
Jul 11

dul 12
Jul 12

Jul 12

Jul 14
Jul 14

Jul 17
Jul 18

Jul 19
Jul 19

Jul 20

Jul 20

  

Case 1-1 /-40104-Ccec

lei

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE it 1 17 40104 CEC

15 BAY 29TH STREET,
11214

BROOKLYN NY

FLOOR 2

Description

WIRE TRANSFER FEE
REFH
TO; ADP

20170705B6B7261F001470

BANK: DBTCO AMERICAS NYC

AUTOMATED PAYMENT
MERITCARD
AUTOMATED PAYMENT
SWS OF AMERICA
RETURNED ITEM FEE
AUTOMATED PAYMENT
ADP PAYROLL FEES
ACH
TRASHBILLING. COM
ACH
EMPIREMERCHANTS
AUTOMATED PAYMENT
NYS DTF SALES
RETURNED ITEM FEE
AUTOMATED PAYMENT
EMPIREMERCHANTS
RETURNED ITEM FEE
AUTOMATED PAYMENT
CAROUSEL CHECKS
AUTOMATED PAYMENT
SWS OF AMERICA
RETURNED ITEM FEE
AUTOMATED PAYMENT
ADP PAYROLL FEES
PRE-AUTHORIZED WD
ACH

NYS DTF SALES
RETURNED ITEM FEE
AUTOMATED PAYMENT
SUPER PC SYSTEMS
AUTOMATED PAYMENT
MERITCARD
AUTOMATED PAYMENT
NYS DTF SALES

ck/ref no.
MERCH CHBK

ck/ref no.
CORP PMT

ck/ref no.
ADP - FEES
ck/ref no.
59320(0)
ck/ref no,
INVOICE (S)
ck/ref no.
TAX PAYMNT

ck/ref no.
INVOICE(S)

ek/ref no.
INTERNET

ck/ref no,
CORP PMT

ck/ref no.
ADP - FEES

ck/ref no.
TAX PAYMNT

ck/ref no,
PURCHASE

ck/ref no.
MERCH CHBK

ck/ref no.
TAX PAYMNT

SIGNATURE BANK

9-421

ABA;

5281020
960000009035908

5375006
450000000343059

5435242
2RMTA 9185054
5469916
7593200017590
5499966
3996862
5564837
000000021207161

5639046
4797121

5686433
043000098849970

5670302
450000000344785

5783031
2RMTA 9566769

5885035
000000021494260

6000280
39732008

6074383
960000009035908

6087799
000000021571687

021001033
ACCT{# 00153170

Statement Period

From July ol,
To July 31,
Page 5 of 13

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

2017
2017

PRIVATE CLIENT GROUP 421

26 COURT
BROOKLYN

STREET
, NY 11242

SAL MONACO

See Back for Important Information

Primary Account:

1502734241

438

25.00

139.64

1,971,88

50,00
286.44

1,045,20

7,352,682

8,000.00

25,00
10,754.30

25.00
445,94

3,966.19

100.00
51.96

33,869.13
6,900,00

25.00
75,00

30.31

2,430.27
4

Case 1-1 /-40104-Ccec

   
 

fli

 

PRIME SIX INC.

DBA WOODLAND

DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY

Jul 21 AUTOMATED PAYMENT
ADP PAYROLL FEES
Jul 24 ACH

NATIONAL GRID NY

Jul 24 AUTOMATED PAYMENT
NYS DTF SALES

Jul 25 AUTOMATED PAYMENT
IRS

Jul 25 AUTOMATED PAYMENT
NYS DTF WT

Jul 25 AUTOMATED PAYMENT
NYS DTF WT

Jul 25 AUTOMATED PAYMENT
IRS

Jul 26 RETURNED ITEM FEE

Jul 26 AUTOMATED PAYMENT
BILLMATRIX

Jul 26 AUTOMATED PAYMENT
VERIZON

Jul 26 AUTOMATED PAYMENT

VERIZON AGENT WE
Jul 26 AUTOMATED PAYMENT
TIME WARNER CABL

Jul 26 AUTOMATED PAYMENT
AMEX EPAYMENT

Jul 26 AUTOMATED PAYMENT
CON ED OF NY

Jul 27 AUTOMATED PAYMENT
MERITCARD

Jul 28 RETURNED ITEM FEE

Jul 31 AUTOMATED PAYMENT
AMEX EPAYMENT

Jul 31 AUTOMATED PAYMENT

NYS DTF SALES

Checks by Serial Number

Jul 10 7554
Jul 03 7588 *
Jul 03 7589
Jul 06 7591 *

11214

ck/ref no.
ADP - FEES
ck/ref no,
UTILITYPAY
ck/ref no,
TAX PAYMNT
ck/ref no.
USATAXPYMT
ck/ref no.
TAX PAYMNT
ck/ref no.
TAX PAYMNT
ck/ref no.
USATAXPYMT

ck/ref no.
BILLPAYFEE
ck/ref no.
PAYMENTONE
ck/ref no.
BILL PAY
ck/ref no.
CABLE PAY
ck/ref no.
ACH PMT
ck/ref no.
INTELL CK
ck/ref no.
MERCH CHBK

ck/ref no.
ACH PMT

ck/ref no.
TAX PAYMNT

684,12
239,75
775,00
624.00

DOC ol

SIGNATURE BANK

9-421

999

6099488
2RMTA 0499784
6098940
001982240282
6179964
000000021694532
6223306
225760620227070
6238359
000000021722503
6238360
000000021722505
6223307
225760620782446

6295306
13295278162
6295653
7183993926205
6295343
13295278181
6296857
0010175010 SPA
6300943
W7762
6292349
611404470800041
6370661
960000009035908

6543755
M0574

6536406
000000021903299

Jul 03
Jul 11
Jul 03
Jul 17

7593
7605
7611
7614

+ £ + &

Filed Oo/édzilf Entered Voicédaiif OF 40152

Statement Period

From July O1, 2017
To July 31, 2017
Page 6 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 438

136.96
1,391.46
6,000,00

60.62
1,709.66
2,155,117
7,997,585

50.00
3.50

299,01
400.00
868.07
1,500,00
2,785.00
151,34

25,00
2,500.00

6,000.00

394.34
377,00
195.00
1,939.00
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July 01, 2017
To July 31, 2017
Page 7 «of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account; 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 03 7618 * 382.00 Jul 11 7678 374.54
Jul 05 7630 * 390.60 Jul 11 7679 335.49
Jul 12 7632 * 65,00 Jul 26 7660 130,20
Jul 26 7633 800,00 Jul 11 7661 365.25
Jul 05 7636 * 500.00 Jul 12 7682 392,60
Jul 03 7639 1,150,00 Jul 07 7664 * 198,00
Jul 05 7640 449,92 Jul 11 7665 383,09
Jul 10 7641 721.28 Jul 12 7686 103,15
Jul 07 7643 * 1,058,22 Jul 17 7687 254.61
Jul 06 7644 1,490.00 Jul 11 7668 268,45
Jul 07 7645 6,790.00 Jul 12 7689 234.64
Jul 07 7646 630,56 Jul 12 7690 659,40
Jul 05 7647 $00.00 Jul 10 7691 506,50
Jul 05 7648 500.00 Jul 11 7692 339,56
Jul 05 7649 522,00 Jul 11 7693 510.76
Jul 14 7650 692,18 Jul 31 7694 257,34
Jul 07 7651 202,95 Jul 11 7695 473.90
Jul 12 7652 $72.60 Jul 11 7696 464.79
Jul 11 7653 400,00 Jul 11 7697 120.97
Jul 17 7654 200,00 Jul 11 7696 335.62
Jul 12 7656 * 1,078,a9 Jul 06 7699 187,22
Jul 11 7657 §01,15 Jul 10 7700 191,186
Jul 19 7658 1,496.00 Jul 10 77021 310,92
Jul ii 7659 1,284,111 Jul 12 7702 146.93
Jul 10 7661 * 500.00 Jul 10 7703 427.24
Jul 11 7662 770,00 Jul 10 7704 748,58
Jul 17 7663 4,572.00 Jul 06 7705 391,04
Jul 10 7664 163,25 Jul 06 7706 324,80
Jul 17 7666 * 500.00 gul 12 71707 242,54
oul 17 7667 $00,00 Jul 11 7708 162,72
Jul li 7668 330,62 Jul 06 7709 362,95
Jul 17 7669 288.74 Jul 18 7710 252.77
Jul 10 7670 720.56 Jul 11 T7711 516.05
Jul 10 76721 500,00 dul 20 7712 413,51
Jul 07 7672 651.00 Jul 06 7713 421.88
Jul 10 7674 * 436.82 Jul ii 7714 473,65
Jul 10 7675 225,38 Jul 121 7718 196,41
Jul 18 7676 344,05 Jul 07 7716 750.15

Jul 10 7677 472.00 dul 12 7717 326.36
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

4

  

Statement Period

From July O01, 2017
To July 31, 2017
Page 8 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 10 7718 433.96 Jul 19 7762 180.00
Jul 11 7719 456.76 Jul 17 7763 113,00
Jul 11 7720 181,89 Jul 19 7764 1,152.85
Jul 10 7721 169,97 Jul li 7766 * 337.00
Jul 07 71722 220,09 Jul 18 7768 * 179,25
Jul 07 7723 172,43 Jul 14 7770 * 581.29
Jul 11 71724 594,10 Jul 21 77721 453,59
Jul 12 7725 467,44 Jul 18 7772 1,213,50
Jul ll 7726 1,213,85 Jul 14 7773 166.53
Jul 06 7727 305,07 Jul 18 7774 143.92
Jul 10 7728 468.40 Jul 18 7775 398,93
Jul 11 7730 * 660.92 Jul 25 7776 145,21
Jul 11 7731 614,73 Jul 18 7777 664,09
Jul 10 7732 349,17 Jul 17 7779 ~* 547,64
Jul 10 7733 $76,000 Jul 17 7780 146,20
Jul 12 71734 459.33 Jul 14 7781 632.86
Jul 10 7735 565,00 Jul 14 7782 706,62
Jul 10 7736 606,71 gul 17 77863 524,74
Jul 10 7737 $29.34 Jul 18 7764 433,48
Jul 10 7738 472.34 Jul 18 7785 283.71
Jul 121 7739 §64.71 dul 18 7786 493.72
Jul 11 71740 503.90 Jul 14 7767 609,14
Jul 10 7741 267,10 Jul 19 7768 211.94
Jul 18 7742 424.95 Jul 18 7789 460,13
Jul 17 7743 256.77 dul 18 7791 * 611,51
Jul 11 7744 353,10 Jul 18 7792 312.59
Jul 17 7746 * 331,15 Jul 19 7793 208.58
Jul 18 7747 321,20 Jul 14 7794 723,86
Jul 17 7748 400.00 Jul 18 7795 143.81
Jul 17 7750 * 744.14 Jul 16 7796 424.75
dul 17 7751 502.66 gul 13 71797 513.57
Jul 17 7752 1,235.00 Jul 17 7798 507.31
Jul 12 7754 * 1,905.00 gul 17 7799 196,52
Jul 12 7755 646.07 Jul 13 7800 469,42
Jul 17 7756 650.00 Jul 18 7801 136.39
Jul 17 7757 106.00 Jul 18 7802 232.43
Jul 18 7758 1,025.00 Jul 18 7803 106.28
Jul 24 7759 5,010.00 dul 17 7805 * 467.49

Jul 21 7761 * 1,026,36 Jul 18 7806 706,50
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

     
 

SIGNATURE BANK

 
 

WZ,

SY

Statement Period

From July 01, 2017
To July 31, 2017
Page 9 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 17 71807 420,12 Jul 26 7860 * 308.03
Jul 14 7808 264,69 Jul 31 7861 1,735,00
Jul 18 7609 341,45 Jul 24 7863 * 686.93
Jul 17 7611 * 322,98 Jul 18 7864 373.65
Jul 18 7812 146,76 Jul 24 7866 * 232,19
Jul 24 7813 431,22 Jul 18 7867 534,28
Jul 31 7814 451,67 Jul 21 7868 774.00
Jul 18 7815 402.71 Jul 31 7869 573,41
Jul 18 7816 438.32 Jul 24 7871 * 365,65
Jul 17 7817 289.81 Jul 31 7872 439,48
Jul 19 7818 351.85 Jul 24 7873 292.26
Jul 18 7019 519.63 Jul 24 7874 409,25
Jul 18 7820 122,13 Jul 25 7875 468.83
Jul 13 7821 378,24 Jul 24 7876 331.33
Jul 17 7822 328,98 Jul 25 7877 412,93
Jul 18 7823 433,47 Jul 24 7878 455.99
Jul 18 7824 336,35 Jul 26 7860 * 536.94
Jul 18 7627 * 316.52 Jul 24 78al 283,48
Jul 18 7828 432,52 Jul 27 7882 557.68
Jul 18 7829 395,55 dul 25 7885 * 262.65
Jul 17 7830 483,20 Jul 24 7886 490.70
Jul 24 7631 264,53 Jul 25 7887 546,33
Jul 18 7832 363.17 Jul 31 76888 316,96
Jul 17 7833 277.77 Jul 24 7889 305,22
Jul 24 7834 356,14 dul 25 7890 120.28
Jul 18 7835S 360,67 Jul 24 7091 484.11
dul 17 7836 212.21 Jul 27 7892 154.36
Jul 18 7837 132.59 dul 24 7893 331.54
Jul 17 7638 419.79 Jul 24 7694 465.00
Jul 17 7839 412,96 Jul 25 71895 616,50
Jul 18 7841 * 338,44 Jul 24 7896 457.26
Jul 18 7842 5,362.50 Jul 25 7397 235,49
Jul 31 7843 236.98 Jul 25 7898 236,52
Jul 24 7844 280.00 Jul 25 7903 * 793,07
Jul 26 7846 * 1,321.59 dul 25 7904 1,213.49
Jul 25 7853 * 1,633.64 Jul 24 7905 151,41
Jul 27 7855 * 282.80 Jul 25 7913 * 691,22
Jul 27 7656 206,89 Jul 25 7914 746,48

Jul 25 7857 400,00 Jul 25 7916 * 153.71
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

   

afl SIGNATURE BANK

 

SF

Statement Period

From July 01, 2017
To duly 31, 2017
Page 10 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 25 7917 602,79 Jul 24 7968 500,00
Jul 25 7918 208,48 Jul 24 7969 500.00
Jul 25 7920 * 764,70 Jul 21 7970 650,00
Jul 25 7921 136.44 Jul 31 7971 1,276,34
Jul 25 71922 526,15 Jul 25 7973 * 1,100,00
Jul 24 1923 459,08 Jul 25 7974 397,26
Jul 31 7924 590,23 Jul 24 7975 496.86
Jul 24 7928 * 249.95 Jul 26 7977 * §73.05
Jul 25 7931 * 723,88 Jul 24 7978 5,130.00
Jul 24 71932 74,02 Jul 31 7979 134.76
Jul 26 71933 90,32 Jul 27 7960 352,10
Jul 24 71934 522.18 Jul 28 7981 179,24
Jul 25 7935 $69.03 Jul 31 7982 364,87
Jul 25 7936 192,57 Jul 31 7985 * 692.00
Jul 24 7937 471.92 Jul 25 7906 400,00
Jul 24 7938 78.21 Jul 31 7989 ¥* 420.00
Jul 25 7939 782.07 Jul 24 71990 500,00
Jul 24 7940 469,42 Jul 24 7991 590.23
Jul 18 7942 * 1,008,56 Jul 31 7993 * 338,45
Jul 28 7943 206,13 dul 27 7998 * 634.75
Jul 24 7945 * 480,97 Jul 31 71999 270.91
Jul 24 7946 449.12 Jul 27 8003 * 214.69
Jul 26 7947 607.02 Jul 31 8004 326,49
Jul 24 7948 466.64 Jul 27 8006 * 484.67
Jul 24 7951 * 226.75 Jul 27 9008 * 623.99
Jul 24 7952 542.68 Jul 31 8009 513.43
Jul 28 7953 188.65 Jul 31 goll * 560,62
Jul 25 7954 675,76 Jul 31 8012 388,36
Jul 25 7955 668.35 Jul 28 8013 705.74
Jul 24 7956 188.41 Jul 28 9014 767,36
Jul 24 7959 * 364.65 Jul 31 8015 415,22
Jul 25 7960 569,12 gul 31 8016 570,02
Jul 26 7961 123.75 Jul 28 8017 191,00
Jul 31 71962 595.67 Jul 27 8016 201.40
Jul 25 7963 115.75 dul 26 8019 765,96
Jul 24 7964 396.32 gui 31 8020 405,21
Jul 24 7965 396.61 gul 31 8021 440.54
Jul 24 7966 447.04 Jul 31 8022 531,34

Jul 25 7967 731,18 Jul 31 8023 613.34
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July 01, 2017
To July 31, 2017
Page 11 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account; 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 31 8024 396,91 Jul 31 8081 1,437.13
Jul 27 $8027 * 534.85 Jul 31 8177 * 417,26
Jul 31 8028 85,97 Jul 18 100583 * 395,00
Jul 27 6032 * 147.06 Jul 18 100711 * 428,50
Jul 31 8033 159,61 Jul 05 100813 * 259,56
Jul 28 8034 159,82 Jul 18 100820 * 472,94
Jul 31 8035 625.20 Jul 03 100879 * 203.54
Jul 31 8036 633.65 Jul 17 100884 * 247,94
Jul 31 8037 191.04 Jul 11 100885 246.95
Jul 27 8038 457.13 Jul 05 100908 * 410,91
Jul 28 8040 * 777.58 Jul 05 100916 * 484,96
Jul 27 8041 467.25 Jul 05 100919 262,79
Jul 28 8042 50,56 Jul 05 100944 * 232.57
Jul 31 8044 * 466,71 Jul 03 100946 * 479,02
Jul 27 8046 * 399,37 Jul 17 100950 * 54.56
Jul 31 8047 356.59 Jul 05 100970 * 191.51
Jul 31 8048 356.61 Jul 05 100975 * 471,78
Jul 31 gosl1 * 567,50 Jul 05 100964 * 357,87
Jul 31 8052 432.05 Jul 03 100990 * 1,213.84
Jul 27 8056 * 462.89 Jul 20 100999 * 225,02
Jul 31 8087 175,95 Jul 03 101002 * 211,87
Jul 31 8058 275.46 Jul 03 101006 * 442,43
Jul 31 8059 310.71 Jul 05 101007 418.78
Jul 31 go61 * 330.64 Jul 03 101008 200.80
Jul 27 8062 249,33 Jul 05 101009 591,43
Jul 31 8063 555.05 Jul 05 101010 397,61
Jul 27 8064 407,84 Jul 03 1901011 393.16
Jul 26 8067 * 393,50 Jul 03 101012 404.02
Jul 26 8068 498,00 Jul 24 101013 214.58
dul 28 8069 650.00 Jul 05 101014 331.86
Jul 31 8070 500,00 Jul 05 101015 379.70
Jul 31 8071 500.00 Jul 03 101016 206.22
Jul 31 8073 * 890.00 Jul 03 101018 * 539,70
Jul 31 8074 485.12 Jul 12 101019 258,03
Jul 31 8075 705.80 Jul 05 101020 287,03
Jul 31 6076 673,82 Jul 11 101021 349,60
Jul 28 8077 6,640.00 Jul 03 101022 170.83
Jul 31 8078 315,16 Jul 03 101023 706,95

Jul 26 8080 * 330.00 Jul 05 101025 * 417.02
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Pariod

From July 01, 2017
To July 31, 2017
Page 12 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 438
Date Serial Nbr Amount Date Serial Nbr Amount
Jul 10 101026 126,66 Jul 0S 101051 410,42
Jul 03 101027 319.78 Jul 05 101052 132,20
Jul 06 101028 267,08 Jul 05 101053 593,28
Jul 05 101029 4308.46 Jul 05 101054 600,51
Jul 05 101030 160.20 Jul 05 101055 436,99
Jul 03 101031 369.16 Jul 03 101056 1,213,85
Jul 10 101032 580.03 Jul 03 101057 192,51
Jul 03 101033 421.15 Jul 05 101058 479.46
Jul 05 101034 260,53 Jul 03 101059 645.70
Jul 03 101035 624.47 Jul 05 101060 471,15
Jul 05 101038 * 263.60 Jul 03 101061 425.08
Jul 03 101040 * 664.51 Jul 05 101062 424.95
Jul 06 101041 614.72 dul 03 101063 §24.19
Jul 03 101042 469.86 Jul 05 101064 527.19
Jul 18 101044 * 411.45 Jul 03 101065 196,41
Jul 05 101045 343,99 Jul 05 101066 156,51
Jul 05 102047 * 630.95 Jul 05 101067 544,60
Jul 03 101048 18,56 Jul 10 1010686 347,09
Jul 05 101049 368,53 Jul 03 101069 211,03
Jul 12 101050 161.69 Jul 06 101070 724,29
* Indicatea break in check sequence

Daily Balances
Jun 30 156.43 Jul 18 1,050.77
Jul 03 21.45 Jul 19 142,40
Jul 05 98.92 Jul 20 36.19
Jul 06 464,59 Jul 21 70.06
Jul 07 236.64 Jul 24 292.69
Jul 10 160.66 Jul 25 379.29
Jul 11 297.25 Jul 26 4,971,90
Jul 12 269.86 Jul 27 170,63
Jul 13 564.61 Jul 28 35.81
Jul 14 237.08 Jul 31 2,226.67

Jul 17 104,44
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July 01, 2017
To duly 31, 2017
Page 13 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 438

Rates for this statement period - Overdraft
Jul 01, 2017 14.000000 %
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

 

 

 

 

 

5:22 PM Prime Six Inc DBA Woodland 2017
08/17/17 Reconciliation Summary
New Checking Signature 4241, Period Ending 07/31/2017
Jul 31, 17
Beginning Balance 156.43
Cleared Transactions
Checks and Payments - 484 items -384,264.91
Deposits and Credits - 33 items 386,335.15
Total Cleared Transactions 2,070.24
Cleared Balance 2,226.67
Uncleared Transactions
Checks and Payments - 131 items -117,295.90
Deposits and Credits - 56 items 92,327.21
Total Uncleared Transactions -24,968.69
Register Balance as of 07/31/2017 -22,742.02
New Transactions
Checks and Payments - 376 items -269,845.84
Deposits and Credits - 21 items 200,853.98
Total New Transactions -68,991.86
Ending Balance -91,733.88

 

Page 1
Unaudited Statement
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Type

Beginning Balance

Prime Six Inc DBA Woodland 2017
Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

Date

Cleared Transactions
Checks and Payments - 484 items

Check
Check
Check
Check
Bill Pmt -Check
Check
Check
Check
Check
Check
Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bil! Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check
Check
Check
Check
Bill Pmt -Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check
Check

05/09/2017
05/24/2017
06/08/2017
06/08/2017
06/09/2017
06/13/2017
06/13/2017
06/13/2017
06/13/2017
06/13/2017
06/13/2017
06/16/2017
06/16/2017
06/22/2017
06/23/2017
06/23/2017
06/23/2017
06/28/2017
06/28/2017
06/28/2017
06/29/2017
06/29/2017
06/29/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
06/30/2017
07/01/2017
07/01/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017
07/03/2017

Num

100583
100711
100820
100813
7641
100918
100908
7605
100919
100884
100879
7614
7611

7644

101056
100990
101023
101040
101059
101035
101018
101063
100946
101042
101006
101061
101033
101012
101011

101031
101027
101002
101069
101016
101008
101065
101057
101022

Name

Bowater-Skelly, Aedn
Bowater-Skelly, Aedn
McCulloch, Courtney
Gbadamassi, Justin

Pat LaFrieda
Shaw, Prema

Abrorov, Djamshed
Mamiacheva, Taisia

Wong, Channelle

McCulloch, Courtney
Gbadamassi, Justin
OREL PRODUCE,INC

Joyce Beer Gas

H & S Hood & Duct...
Multi-Flow Industries

ELIS BREAD
Joyce Beer Gas

Kahramon Consultin...

Pat LaFrieda
Manhattan Beer

Jetro Cash & Carry

Yaderki Mena
PORTER

OREL PRODUCE, INC

A. Refrigiration

Out of The Blue Wh...
Multi-Flow Industries
AUTO-CHLOR SYS...

ELIS BREAD

Northern Shore Linen

Golden Malted
Bindi
Joyce Beer Gas

Robert lannucci and ...
Jetro Cash & Carry

Merit Card
ADP Tax
Amex

Jetro Cash & Carry

ADP Tax

Page 1

Unaudited Statement

Clr

<>< > KOK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OOK OK OK OK OKO OKO OK OK KKK OK OKO OK OK OK OK OK OK OOK OK OK OK OK OK OK OK OK OK OK OK OKO OK OOK OK OKO OK

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
156.43
-395.00 -395.00
-428.50 -823.50
-472.94 -1,296.44
-259.56 -1,556.00
-721.28 -2,277.28
-484,96 -2,762.24
-410.94 -3,173,15
-377.00 -3,550.15
-282.79 -3,832.94
-247.94 -4,080.88
-203.54 -4,284.42
-1,939.00 -6,223.42
-195.00 -6,418.42
-382.00 -6 800.42
-800.00 -7,600.42
-390.80 -7,991.22
-65.00 -8,056.22
-500.00 -8,556.22
-394.34 -8,950.56
-239.75 -9,190.31
-1,150.00 -10,340.31
-775.00 -11,115.31
-500.00 -11,615.31
-1,496,00 -13,111.31
-1,437.13 -14,548.44
-1,284.11 -15,832.55
-1,078.49 -16,911.04
-892.18 -17,803.22
-572.60 -18,375.82
-501.15 -18,876.97
-400.00 -19,276.97
-202.95 -19,479.92
-200.00 -19,679.92
-5,362.50 -25,042.42
-522.00 -25,564.42
-8,000.00 -33,564.42
-6,924.15 -40,488.57
-4,911.56 -45,400.13
-1,500.00 -46,900.13
-1,490.00 -48, 390.13
-1,213.85 -49,603.98
-1,213.84 -50,817.82
-706.95 -51,524.77
-664.51 -52,189.28
-645.70 -52,834.98
-624.47 -53,459.45
-539.70 -§3,999.15
-524.19 -54,523.34
-479.02 -55,002.36
-469.86 -55,472.22
-442.43 -55,914.65
-425.08 -56,339.73
-421.16 -56,760.88
-404.02 -57,164.90
-393.16 -57 558.06
-379.54 -57,937.60
-369.16 -58,306.76
-319.78 -58,626.54
-211.87 -58 838.41
-211.03 -59,049.44
-206.22 -59,255.66
-200.80 -59,456.46
-196.41 -59,652.87
-192.51 -59,845.38
-170.83 -60,016.21
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Check 07/03/2017 101048
Check 07/05/2017 Fang Realty
Bill Pmt -Check 07/05/2017 7645 Jetro Cash & Carry
Check 07/05/2017 ADP Tax
Bill Pmt -Check 07/05/2017 7643 Pat LaFrieda
Bill Pmt -Check 07/05/2017 7670 Marclynn Sonnier
Bill Pmt -Check 07/05/2017 7554 Balter Sales Compa...
Check 07/05/2017 7672 Kseniya Lozano
Check 07/05/2017 101047
Bill Pmt -Check 07/05/2017 7591 Manhattan Beer
Check 07/05/2017 101054
Check 07/05/2017 101053
Check 07/05/2017 101009
Check 07/05/2017 101067
Check 07/05/2017 101064
Check 07/05/2017 7647
Bill Pmt -Check 07/05/2017 7661 PORTER
Bill Pmt -Check 07/05/2017 7671 PORTER
Check 07/05/2017 101058
Check 07/05/2017 100975
Check 07/05/2017 101060
Check 07/05/2017 7640
Check 07/05/2017 101029
Check 07/05/2017 101055
Check 07/05/2017 101062
Check 07/05/2017 101007
Check 07/05/2017 101025
Check 07/05/2017 101051
Check 07/05/2017 101010
Check 07/05/2017 101015
Check 07/05/2017 101049
Check 07/05/2017 100984
Check 07/05/2017 101045
Check 07/05/2017 101014
Check 07/05/2017 101020
Check 07/05/2017 101038
Check 07/05/2017 101034
Check 07/05/2017 100944
Check 07/05/2017 100970
Check 07/05/2017 101030
Check 07/05/2017 101066
Check 07/05/2017
Check 07/05/2017 101052
Check 07/05/2017
Bill Pmt -Check 07/06/2017 Southern Wine and ...
Check 07/06/2017 101070
Check 07/06/2017 101041
Check 07/06/2017 7713
Check 07/06/2017 7705
Check 07/06/2017 7709
Bill Pmt -Check 07/06/2017 7766 Kseniya Lozano
Check 07/06/2017 7706
Check 07/06/2017 7727
Check 07/06/2017 101028
Check 07/06/2017 7699
Bill Pmt -Check 07/06/2017 7664 Tommy's Window Cl...
Bill Pmt -Check 07/07/2017 7663 MAS Security Assoc...
Bill Pmt -Check 07/07/2017 7752 Out of The Blue Wh...
Check 07/07/2017 7716
Bill Pmt -Check 07/07/2017 7750 Multi-Flow Industries
Check 07/07/2017 7646
Bill Pmt -Check 07/07/2017 7751 Northern Shore Linen
Bill Pmt -Check 07/07/2017 7748 Golden Malted
Bill Pmt -Check 07/07/2017 7746 Bindi
Bill Pmt -Check 07/07/2017 7668 Aziz Compore
Bill Pmt -Check 07/07/2017 7747 ELIS BREAD
Check 07/07/2017
Check 07/07/2017 7722

Page 2

Unaudited Statement

2

HK KKK KK KK KKK KK KKK KKK KK KK KK KKK EK EEK OK KE KK OE OE CE |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-18.56 -60,034.77
-16,573.18 -76,607.95
-6,790.00 -83,397.95
-4,868.04 -88,265.99
-1,058.22 -89,324.21
-720.56 -90,044.77
-684,12 -90,728.89
-651.00 -91,379.89
-630.95 -92,010.84
-624.00 -92,634.84
-600.51 -93,235.35
-593.28 -93,828.63
-591.43 -94,420.06
-544.60 -94,964.66
-527.19 -95,491.85
-500.00 -95,991.85
-500.00 -96,491.85
-500.00 -96,991.85
-479.46 -97,471.31
-471.78 -97,943.09
-471.15 -98,414.24
-449.92 -98 864.16
-438.46 -99,302.62
-436.99 -99,739.61
-424.95 -100,164.56
-418.78 -100,583,34
-417,.02 -101,000.36
-410.42 -101,410.78
-397.61 -101,808.39
-379.70 -102,188.09
-368.53 -102,556.62
-357.87 -102,914.49
-343.99 -103,258.48
-331.86 -103,590.34
-287.03 -103,877.37
-263.60 -104,140.97
-260.53 -104,401.50
-232.57 -104,634.07
-191.51 -104,825.58
-160.20 -104,985.78
-156.51 -105,142.29
-139.84 -105,282.13
-132.20 -105,414.33
-25.00 -105,439.33
-1,971.88 -107,411.21
-724.29 -108,135.50
-614.72 -108,750.22
-421,88 -109,172.10
-391.04 -109,563.14
-382.95 -109,946.09
-337.00 -110,283.09
-324.80 -110,607.89
-305.07 -110,912.96
-267.08 -111,180.04
-187.22 -111,367.26
~163.25 -111,530.51
-4,572.00 -116,102.51
-1,235.00 -117,337.51
-750.15 -118,087.66
-744.14 -118,831.80
-630.56 -119,462.36
-502.66 -119,965.02
-400.00 -120,365.02
-331.15 -120,696.17
-330.62 -121,026.79
-321.20 -121,347.99
-286.44 -121,634.43
-220.09 -121,854,52
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Check 07/07/2017 7684
Check 07/07/2017 7723
Check 07/07/2017
Bill Pmt -Check 07/08/2017 7662 Jetro Cash & Carry
Check 07/10/2017
Bill Pmt -Check 07/10/2017 Empire merchants
Bill Pmt -Check 07/10/2017 7754 Jetro Cash & Carry
Check 07/10/2017
Check 07/10/2017 7704
Bill Pmt -Check 07/10/2017 7755 Pat LaFrieda
Check 07/10/2017 7736
Check 07/10/2017 101032
Check 07/10/2017 7733
Check 07/10/2017 7735
Check 07/10/2017 7737
Check 07/10/2017 7691
Check 07/10/2017 7738
Check 07/10/2017 7677 Clemons., Pierra
Check 07/10/2017 7728
Check 07/10/2017 7674
Check 07/10/2017 7718
Check 07/10/2017 7703
Check 07/10/2017 7732
Check 07/10/2017 101068
Check 07/10/2017 7701
Check 07/10/2017 7744
Check 07/10/2017 7675
Check 07/10/2017 7700
Check 07/10/2017 7721
Check 07/10/2017 401026
Bitl Pmt -Check 07/11/2017 Empire merchants
Check 07/11/2017 7726
Check 07/11/2017 7730
Check 07/11/2017 7731
Check 07/11/2017 7724
Check 07/11/2017 7739
Check 07/11/2017 7711
Check 07/11/2017 7693
Check 07/11/2017 7740
Check 07/11/2017 7695
Check 07/11/2017 7714
Check 07/11/2017 7725
Check 07/11/2017 7696
Check 07/11/2017 7719
Paycheck 07/11/2017 7838 Shaw., Prema
Check 07/11/2017 7685
Check 07/11/2017 7678 Compaore., Saidou
Check 07/11/2017 7681
Check 07/11/2017 7744
Check 07/11/2017 101021
Check 07/11/2017 7692
Check 07/11/2017 7698
Check 07/11/2017 7679
Check 07/11/2017 7688
Check 07/11/2017 100885
Paycheck 07/11/2017 7843 Martinez, Naomi
Paycheck 07/11/2017 7836 Piccolo., James
Check 07/11/2017 7715
Check 07/11/2017 7708
Check 07/11/2017 7720
Paycheck 07/11/2017 7837 Rodriguez., Zoey
Check 07/11/2017 7697
Check 07/11/2017
Check 07/12/2017 Southern Wine and ...
Bill Pmt -Check 07/12/2017 7846 Master Fire Systems...
Paycheck 07/12/2017 7772 Doucoure., Mohamed
Bill Pmt -Check 07/12/2017 7764 Pat LaFrieda
Paycheck 07/12/2017 7942 Yamazaki., Pedro

Page 3
Unaudited Statement

Q

HOE KK DE EE DE EE HK HK HC HK HK HK KK DKK DK HK DK DKK DK HK HK HEHE HK HK HK HK HK HK HK HH HK HK HK HK HK KK KKK KKK KK |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-198.00 -122,052.52
-172.43 -122,224.95

-50.00 -122,274.95
-770.00 -123,044.95
-8,000.00 -131,044.95
-7, 352.82 -138,397.77
-1,905.00 -140,302.77
-1,045.20 -141,347.97
-748.58 -142,096.55
-646.07 -142,742.62
-606.71 -143,349.33
-580.03 -143,929.36
-576.00 -144,505.36
-565.00 -145,070.36
-529.34 -145,599.70
-506.50 -146,106.20
-472.34 -146,578.54
-472.00 -147,050.54
-468.40 -147,518.94
-436.82 -147,955.76
-433.96 -148,389.72
-427.24 -148 816.96
-349.17 -149, 166.13
-347.09 -149,513.22
-310.92 -149,824.14
-267.10 -150,091.24
-225.38 -150,316.62
-181.18 -150,497.80
-169.97 -150,667.77
-126.66 -150,794.43
-10,754.30 -161,548.73
-1,213.85 -162,762.58
-660.92 -163,423.50
-614.73 -164,038.23
-594.10 -164,632.33
-564.71 -165,197.04
-516.05 -165,713.09
-510.76 -166,223.85
-503.90 -166,727.75
-473.90 -167,201.65
-473.65 -167,675.30
-467.44 -168,142.74
-464.79 -168,607.53
-456.76 -169,064.29
-419.79 -169,484.08
-383.09 -169, 867.17
-374.54 -170,241.71
-365.25 -170,606.96
-353.10 -170,960.06
-349.60 -171,309.66
-339.56 -171,649.22
-335.62 -171,984.84
-335.49 -172,320.33
-268.45 -172,588.78
-246.95 -172,835.73
-236.98 -173,072.71
-212.21 -173,284.92
-196.41 -173,481.33
-182.72 -173,664.05
-181.89 -173,845.94
-132.59 -173,978.53
-120.97 -174,099.50
-25.00 -174,124.50
-3,966.19 -178,090.69
-1,321.59 -179,412.28
-1,213.50 -180,625.78
-1,152.85 -181,778.63
-1,008.56 -182,787.19
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017
Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Bill Pmt -Check 07/12/2017 7756 ROHAN LONGFORC
Paycheck 07/12/2017 7794 Sonnier., Marclynn
Paycheck 07/12/2017 7782 Kone., Idrissa
Paycheck 07/12/2017 7806 Tapsoba, Rasmane
Paycheck 07/12/2017 7863 Kandioura., Barry
Paycheck 07/12/2017 7777 Kabore., Madi
Check 07/12/2017 7690
Paycheck 07/12/2017 7781 Konate., Abdel
Paycheck 07/12/2017 7791 Petrosyants., Robert
Paycheck 07/12/2017 7787 Morales., Diego
Paycheck 07/12/2017 7770 Castillo., Alberto
Paycheck 07/12/2017 7779 Keita., Cheik
Paycheck 07/12/2017 7783 Marvelle., Adams
Paycheck 07/12/2017 7819 McCulloch., Courtney
Paycheck 07/12/2017 7797 Traore., Drissa
Paycheck 07/12/2017 7798 Wandaogo., Abdoul
Bill Pmt -Check 07/12/2017 7667 PORTER
Bill Pmt -Check 07/12/2017 7666 PORTER
Paycheck 07/12/2017 7786 Monterroso., Jamie
Paycheck 07/12/2017 7830 Clyne, Jonathan
Paycheck 07/12/2017 7800 Zamboni., Cosmin
Paycheck 07/12/2017 7805 Toure., Malick
Paycheck 07/12/2017 7789 Mrani., Mouna
Check 07/12/2017 7734
Paycheck 07/12/2017 7771 Clyne., Kimberly
Paycheck 07/12/2017 7814 Palma., Ceballos Luis
Bill Pmt -Check 07/12/2017 Carousel Checking
Paycheck 07/12/2017 7816 Ndiaye, Pape
Paycheck 07/12/2017 7784 Mcleod., Herman
Paycheck 07/12/2017 7823 Hoo-Fong., Paul
Paycheck 07/12/2017 7828 Compoare., Aziz
Paycheck 07/12/2017 7813 Rodriguez., Anibal
Paycheck 07/12/2017 7796 Thomas., Paul
Paycheck 07/12/2017 7807 Seepersaud., Amanda
Paycheck 07/12/2017 7839 Obrian, Scott
Paycheck 07/12/2017 7815 Quedraogo., Ismael
Paycheck 07/12/2017 7775 Garcia., Anyely
Paycheck 07/12/2017 8067 Foster., Andrew
Check 07/12/2017 7682
Paycheck 07/12/2017 7829 Compaore., Saidou
Paycheck 07/12/2017 7832 Chung., Rwanda
Paycheck 07/12/2017 7821 Kigan., Joseph A
Paycheck 07/12/2017 7864 Aguaiza., Luis
Paycheck 07/12/2017 7835 Armanov., Eric
Paycheck 07/12/2017 7834 Bailey., Ariana
Paycheck 07/12/2017 7818 Mddidarul., Alam
Paycheck 07/12/2017 7809 Santana,, Indismel
Paycheck 07/12/2017 7841 Block., Amber K
Paycheck 07/12/2017 7824 Honore., Mikail
Paycheck 07/12/2017 7822 James., Eric
Check 07/12/2017 7717
Paycheck 07/12/2017 7811 Roye., Chelsea
Paycheck 07/12/2017 7827 Felix., Garison
Paycheck 07/12/2017 7792 Sanago., Youssout
Paycheck 07/12/2017 7817 Murphy., Joshua
Paycheck 07/12/2017 7831 Clemons., Pierra
Paycheck 07/12/2017 7785 Moldovan., Amanda
Bill Pmt -Check 07/12/2017 7844 NYC Department of...
Paycheck 07/12/2017 7833 Bowater-Skelly., Aedn
Paycheck 07/12/2017 7808 Sarr, Abdou
Check 07/12/2017 101019
Check 07/12/2017 7707
Check 07/12/2017 7689
Paycheck 07/12/2017 7802 Zida, Maomet
Paycheck 07/12/2017 7866 Fiumefreddo., Audra
Paycheck 07/12/2017 7788 Mosley., Tarren
Paycheck 07/12/2017 7793 Scott., Sean
Paycheck 07/12/2017 7799 Wong., Channelle

Page 4
Unaudited Statement

Q
_

xx KM KM MK MK KK KK OO OO OO OO OO OO OO OOO OO OM EO OO CO OM OO OO OK OO OE OK OM DO OS DE OK OK OK OK OX DE OX |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-850.00 -183,637.19
-723.86 -184,361.05
-706.62 -185,067.67
-706.50 -185,774.17
-688.93 -186,463.10
-684.09 -187,147.19
-659.40 -187,806.59
-632.86 -188,439.45
-611.51 -189,050.96
-609.14 -189,660.10
-581.29 -190,241.39
-547.64 -190,789.03
-524.74 -191,313.77
-519.63 -191,833.40
-513.57 -192,346.97
-507.31 -192,854.28
-500.00 -193,354.28
-500.00 -193,854.28
-493.72 -194,348.00
-483.20 -194,831.20
-469.42 -195,300.62
-467.49 -195,768.11
-460.13 -196,228.24
-459.33 -196,687.57
-453.59 -197,141.16
-451.67 -197,592.83
-445,94 -198,038.77
-438.32 -198,477.09
-433.48 -198,910.57
-433.47 -199,344.04
-432.52 -199,776.56
-431.22 -200,207.78
-424.75 -200,632.53
-420.12 -201,052.65
-412.96 -201,465.61
-402.71 -201 868.32
-398.93 -202,267.25
-393.50 -202,660.75
-392.60 -203,053.35
-385.55 -203,438.90
-383.17 -203,822.07
-378.24 -204,200.31
-373,85 -204,574.16
-360.67 -204,934.83
-356.14 -205,290.97
-351.85 -205,642.82
-341.45 -205,984.27
-338.44 -206,322.71
-336.35 -206,659.06
-328.98 -206,988.04
-326.36 -207,314.40
-322.98 -207 637.38
-316.52 -207,953.90
-312.59 -208,266.49
-289.81 -208,556.30
-284.53 -208 840.83
-283.71 -209,124.54
-280.00 -209,404.54
-277.77 -209,682.31
-264.69 -209,947.00
-258.03 -210,205.03
-242.54 -210,447.57
-234.64 -210,682.21
-232.43 -210,914.64
-232,19 -211,146.83
-211.94 ~211,358.77
-208.58 -211,567.35
-196.52 -211,763.87
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 07/12/2017 7768 Birch., Brittany
Paycheck 07/12/2017 7773 Floyd., Julissa
Check 07/12/2017 101050
Check 07/12/2017 7702
Paycheck 07/12/2017 7812 Roque., Jose
Paycheck 07/12/2017 7780 Kinda, Aime
Paycheck 07/12/2017 7776 Giles., Kaisey
Paycheck 07/12/2017 7774 Garcia, Lusmary
Paycheck 07/12/2017 7795 Sylvestre., Amanda
Paycheck 07/12/2017 7801 Zon, Ibrahim
Paycheck 07/12/2017 7820 Lenard, Nikia S
Paycheck 07/12/2017 7803 ZAVGARDONIAIA.., ...
Check 07/12/2017 7686
Check 07/12/2017
Paycheck 07/13/2017 7947 Ouedraogo., Ismael
Paycheck 07/13/2017 7945 Compoare., Aziz
Paycheck 07/13/2017 7948 Rysyk., Lyubomyr
Paycheck 07/13/2017 7946 Foster., Andrew
Paycheck 07/13/2017 7966 Bowater-Skelly., Aedn
Bill Pmt -Check 07/13/2017 7757 United Paper and Ri...
Bill Pmt -Check 07/14/2017 7759 MAS Security Assoc...
Bill Pmt -Check 07/14/2017 7758 Jetro Cash & Carry
Check 07/14/2017 7868 Doucoure., Mohamed
Paycheck 07/14/2017 7867 Rysyk., Lyubomyr
Bill Pmt -Check 07/14/2017 7857 Golden Malted
Bill Pmt -Check 07/14/2017 7860 Northern Shore Linen
Bill Pmt -Check 07/14/2017 7855 ELIS BREAD
Bill Pmt -Check 07/14/2017 7856 Bindi
Bill Pmt -Check 07/14/2017 7763 United Paper and Ri...
Check 07/14/2017
Check 07/14/2017 ADP Payroll Fees
Check 07/17/2017 Fang Realty
Check 07/17/2017 7669 Mddidarul., Alam
Check 07/17/2017 7743
Check 07/17/2017 7687
Paycheck 07/17/2017 7943 Dixon, Shakeem
Check 07/17/2017 100950
Check 07/18/2017 NYS Sales Tax
Check 07/18/2017 7742
Check 07/18/2017 101044
Check 07/18/2017 7676
Check 07/18/2017 7710 Block., Amber K
Paycheck 07/19/2017 7904 Doucoure., Mohamed
Bill Pmt -Check 07/19/2017 7761 Pat LaFrieda
Paycheck 07/19/2017 7903 Castillo., Alberto
Paycheck 07/19/2017 7920 Morales., Diego
Paycheck 07/19/2017 7939 Yamazaki., Pedro
Paycheck 07/19/2017 7914 Kone., Idrissa
Paycheck 07/19/2017 7967 Monterroso., Jamie
Paycheck 07/19/2017 7931 Sonnier., Marclynn
Paycheck 07/19/2017 7913 Konate., Abdel
Paycheck 07/19/2017 7954 Kabore., Madi
Paycheck 07/19/2017 7955 Kandioura., Barry
Paycheck 07/19/2017 7895 Tapsoba, Rasmane
Paycheck 07/19/2017 7917 Mcleod., Herman
Paycheck 07/19/2017 7962 Shaw., Prema
Paycheck 07/19/2017 7991 Petrosyants., Robert
Paycheck 07/19/2017 7869 Armanov., Eric
Paycheck 07/19/2017 7960 Rodriguez., Zoey
Paycheck 07/19/2017 7935 Wandaogo., Abdoul
Paycheck 07/19/2017 7882 Kigan., Joseph A
Paycheck 07/19/2017 7887 Quedraogo., Ismael
Paycheck 07/19/2017 7952 Garcia., Anyely
Paycheck 07/19/2017 7880 Hoo-Fong., Paul
Paycheck 07/19/2017 7922 Mrani., Mouna
Paycheck 07/19/2017 7934 Traore., Drissa
Paycheck 07/19/2017 8068 Keita., Cheik
Paycheck 07/19/2017 7886 Ndiaye, Pape

Page 5

Unaudited Statement

Q

DEK KK KK HC DK EHC KEK EHH HE HK HC HK HK HK HK HK HC HK HK HK HK HK HEH HK HK HHH HK HK HK HK HK HK HK KK HK KH OK HK HK KKH HK KKK HK |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-179.25 -211,943.12
-166.53 -212,109.65
-161.69 -212,271.34
-146.93 -212,418.27
-146.76 -212,565.03
-146.20 -212,711.23
-145.21 -212,856.44
-143.92 -213,000.36
-143.81 -213,144.17
~138.39 -213,282.56
-122.13 -213,404.69
-106.28 -213,510.97
-103.15 -213,614.12

-25.00 -213,639.12
-607.02 -214,246.14
-480.97 -214,727.11
-466.64 -215,193.75
-449.12 -215,642.87
-447.04 -216,089.91
-106.00 -216,195.91

-5,010.00 -221,205.91
-1,025.00 -222,230.91
-774.00 -223,004.91
-534.28 -223,539.19
-400.00 -223,939.19
-308.03 -224 247.22
-282.80 -224,530.02
-206.89 -224,736.94
-113.00 -224,849,94
-100.00 -224,949.91
-51.96 -225,001.87
-33,869.13 -258,871.00
-288.74 -259,159.74
-256.77 -259,416.51
-254.61 -259,671.12
-206.13 -259,877.25
-54.56 -259,931.81
-6,000.00 -265,931.81
-424.95 -266,356.76
-411.45 -266,768.21
-344.05 -267,112.26
-252.77 -267,365.03
-1,213.49 -268,578.52
-1,026.36 -269,604.88
-793.07 -270,397.95
-784.70 -271,182.65
-782.07 -271,964.72
-746.48 -272,711.20
-731.18 -273,442.38
-723.88 -274,166.26
-691.22 -274,857.48
-675.76 -275,533.24
-668.35 -276,201.59
-616.50 -276,818.09
-602.79 -277 420.88
-595.67 -278,016.55
-590.23 -278,606.78
-573.41 -279,180.19
-569.12 -279,749.31
-569.03 -280,318.34
-557.88 -280,876.22
-548.33 -281,424.55
-542.88 -281,967.43
-536.94 -282,504.37
-528.15 -283,032.52
-522.18 -283,554.70
-498.00 -284,052.70
-490.70 -284,543.40
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 07/19/2017 7891 Rysyk., Lyubomyr
Paycheck 07/19/2017 7937 Willsey, Stephanie
Paycheck 07/19/2017 7940 Zamboni., Cosmin
Paycheck 07/19/2017 7875 Compaore., Saidou
Paycheck 07/19/2017 7894 Seepersaud., Amanda
Paycheck 07/19/2017 7923 Obrian, Scott
Paycheck 07/19/2017 7896 Toure., Malick
Paycheck 07/19/2017 7878 Foster., Andrew
Paycheck 07/19/2017 7872 Chung., Rwanda
Paycheck 07/19/2017 7877 Felix., Garison
Paycheck 07/19/2017 7874 Clyne, Jonathan
Paycheck 07/19/2017 7965 Abrorov {2}, Djamshed
Paycheck 07/19/2017 7964 Aguaiza., Luis
Paycheck 07/19/2017 7871 Bowater-Skelly., Aedn
Paycheck 07/19/2017 7959 Piccolo., James
Paycheck 07/19/2017 7893 Sarr, Abdou
Paycheck 07/19/2017 7876 Compoare., Aziz
Paycheck 07/19/2017 7888 Rodriguez., Anibal
Paycheck 07/19/2017 7889 Roque., Jose
Paycheck 07/19/2017 7873 Clemons., Pierra
Paycheck 07/19/2017 7881 James., Eric
Paycheck 07/19/2017 7885 Murphy., Joshua
Paycheck 07/19/2017 7928 Sanago., Youssouf
Paycheck 07/19/2017 7898 Zida, Maomet
Paycheck 07/19/2017 7897 ZAVGARDONIAIA., ...
Paycheck 07/19/2017 7951 Garcia, Lusmary
Paycheck 07/19/2017 7918 Moldovan., Amanda
Paycheck 07/19/2017 7936 Wells., Tatasha Lee
Paycheck 07/19/2017 7953 Giles., Kaisey
Bill Pmt -Check 07/19/2017 7762 Pat LaFrieda
Paycheck 07/19/2017 7956 Kinda, Aime
Paycheck 07/19/2017 7892 Santana., Indismel
Paycheck 07/19/2017 7916 Martinez, Naomi
Paycheck 07/19/2017 7905 Floyd., Julissa
Paycheck 07/19/2017 7921 Mosiey., Tarren
Paycheck 07/19/2017 7961 Scott., Sean
Paycheck 07/19/2017 7890 Roye., Chelsea
Paycheck 07/19/2017 7963 Zon, Ibrahim
Paycheck 07/19/2017 7933 Taylor, Fabian
Paycheck 07/19/2017 7938 Wong., Channelle
Check 07/19/2017
Paycheck 07/19/2017 7932 Sylvestre., Amanda
Check 07/19/2017 Bank Charge
Bill Pmt -Check 07/20/2017 7978 Jetro Cash & Carry
Check 07/20/2017
Bill Pmt -Check 07/20/2017 7970 ROHAN LONGFORC
Bill Pmt -Check 07/20/2017 7968 PORTER
Bill Pmt -Check 07/20/2017 7969 PORTER
Check 07/20/2017 7712
Check 07/20/2017 100999 Mamiacheva, Taisia
Check 07/20/2017
Liability Check 07/21/2017 E-pay United States Treas...
Liability Check 07/21/2017 E-pay NYS Income Tax
Bill Pmt -Check 07/21/2017 7861 OREL PRODUCE, INC
Liability Check 07/21/2017 E-pay NYS Income Tax
Bill Pmt -Check 07/21/2017 7971 Manhattan Beer
Bill Pmt -Check 07/21/2017 7985 OREL PRODUCE, INC
Check 07/21/2017 7990 Marianna T Shahmu...
Bill Pmt -Check 07/21/2017 7989 NYC FIRE DEPT
Bill Pmt -Check 07/21/2017 7986 Golden Malted
Bill Pmt -Check 07/21/2017 7974 Pat LaFrieda
Check 07/21/2017 ADP Payroll Fees
Liability Check 07/21/2017 E-pay United States Treas...
Bill Pmt -Check 07/22/2017 7973 Jetro Cash & Carry
Check 07/24/2017
Bill Pmt -Check 07/24/2017 ConEdison
Bill Pmt -Check 07/24/2017 Nationalgrid
Bill Pmt -Check 07/24/2017 ConEdison

Page 6

Unaudited Statement

Q

HK KKH HK HK HK HK HHH KKK HK HK HHH HK HHH HHH HHH HK EHH OE EK KHEEK  EKC |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-484.11 -285,027.51
-471.92 -285,499.43
-469.42 -285,968.85
-468.83 -286,437.68
-465.00 -286 902.68
-459.08 -287,361.76
-457.26 -287,819.02
-455,99 -288,275.01
-439.48 -288,714.49
-412.93 -289,127.42
-409.25 -289,536.67
-396.61 -289,933.28
-396.32 -290,329.60
-365.65 -290,695.25
-364.65 -291,059.90
-331.54 -291,391.44
-331.33 -291,722.77
-316.96 -292,039.73
-305.22 -292,344.95
-292.26 -292,637.21
-283.48 -292,920.69
-282.85 -293,203.54
-249.95 -293,453.49
-236.52 -293,690.01
-235.49 -293,925.50
-226.75 -294,152.25
-208.48 -294,360.73
-192.57 -294 553.30
-188.65 -294,741.95
-180.00 -294,921.95
-158.41 -295,080.36
-154.36 -295 234.72
-153.71 -295,388.43
-151.41 -295,539.84
-138.44 -295,678.28
-123.75 -295,802.03
-120.28 -295,922.31
-115.75 -296,038.06

-90.32 -296,128.38
-78.21 -296,206.59
-75.00 -296,281.59
-74.02 -296,355.61
-25.00 -296,380.61
-5,130.00 -301,510.64
-2,430.27 -303,940.88
-850.00 -304, 790.88
-500.00 -305,290.88
-500.00 -305,790.88
-413.51 -306 204.39
-225.02 -306 429.41
-30.31 -306 459.72
-7,997.55 -314,457.27
-2,155.17 -316,612.44
-1,735.00 -318,347.44
-1,709.86 -320,057.30
-1,276.34 -321,333.64
-692.00 -322,025.64
-500.00 -322,525.64
-420.00 -322,945.64
-400.00 -323,345.64
-397.26 -323,742.90
-136.96 -323,879.86
-60.62 -323,940.48
-1,100.00 -325,040.48
-6,000.00 -331,040.48
-2,785.00 -333,825.48
-1,391.46 -335,216.94
-868.07 -336,085.01
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Bill Pmt -Check 07/24/2017 7977 Pat LaFrieda
Check 07/24/2017 7975 Abrorov {2}, Dijamshed
Check 07/24/2017 101013
Bill Pmt -Check 07/25/2017 7853 Alliance Premium F...
Bill Pmt -Check 07/25/2017 8080 Kseniya Lozano
Bill Pmt -Check 07/25/2017 Verizon
Bill Pmt -Check 07/26/2017 8077 Jetro Cash & Carry
Check 07/26/2017 Amex
Bill Pmt -Check 07/26/2017 8069 ROHAN LONGFORE
Paycheck 07/26/2017 8040 Yamazaki., Pedro
Paycheck 07/26/2017 8014 Kone., Idrissa
Paycheck 07/26/2017 8019 Morales., Diego
Paycheck 07/26/2017 8013 Konate., Abdel
Bill Pmt -Check 07/26/2017 8076 Pat LaFrieda
Paycheck 07/26/2017 7998 Castillo., Alberto
Paycheck 07/26/2017 8036 Wandaogo., Abdoul
Paycheck 07/26/2017 8035 Traore., Drissa
Paycheck 07/26/2017 8008 Kabore., Madi
Paycheck 07/26/2017 8023 Petrosyants., Robert
Paycheck 07/26/2017 8016 Mcleod., Herman
Paycheck 07/26/2017 8051 Honore., Mikail
Paycheck 07/26/2017 8011 Keita., Cheik
Paycheck 07/26/2017 8063 Tapsoba, Rasmane
Paycheck 07/26/2017 8027 Rysyk., Lyubomyr
Paycheck 07/26/2017 8022 Ouedraogo., Ismael
Paycheck 07/26/2017 8009 Kandioura., Barry
Paycheck 07/26/2017 8006 Garcia., Anyely
Paycheck 07/26/2017 8041 Zamboni., Cosmin
Paycheck 07/26/2017 8044 Armanov., Eric
Paycheck 07/26/2017 8056 Ndiaye, Pape
Paycheck 07/26/2017 8038 Willsey, Stephanie
Paycheck 07/26/2017 8021 Mrani., Mouna
Paycheck 07/26/2017 8052 Hoo-Fong., Paul
Paycheck 07/26/2017 8015 Lenard, Nikia S
Paycheck 07/26/2017 8064 Toure., Malick
Paycheck 07/26/2017 8020 Mosley., Tarren
Check 07/26/2017 Verizon
Paycheck 07/26/2017 8046 Chung., Rwanda
Paycheck 07/26/2017 8024 Piccolo., James
Paycheck 07/26/2017 8012 Kinda, Aime
Paycheck 07/26/2017 7982 Clyne, Jonathan
Paycheck 07/26/2017 8048 Clyne, Jonathan
Paycheck 07/26/2017 8047 Clemons., Pierra
Paycheck 07/26/2017 7980 Chung., Rwanda
Paycheck 07/26/2017 7993 Aguaiza., Luis
Paycheck 07/26/2017 8061 Sarr, Abdou
Paycheck 07/26/2017 8004 Foster., Andrew
Paycheck 07/26/2017 8078 Aguilar, Javier
Paycheck 07/26/2017 8059 Roye., Chelsea
Paycheck 07/26/2017 8058 Roque., Jose
Paycheck 07/26/2017 7999 Compoare., Aziz
Paycheck 07/26/2017 8062 Seepersaud., Amanda
Paycheck 07/26/2017 8003 Floyd., Julissa
Paycheck 07/26/2017 8018 Monterroso., Jamie
Paycheck 07/26/2017 8037 Wells., Tatasha Lee
Paycheck 07/26/2017 8017 Moldovan., Amanda
Paycheck 07/26/2017 7981 Clemons., Pierra
Paycheck 07/26/2017 8057 Rodriguez., Anibal
Paycheck 07/26/2017 8034 Taylor, Fabian
Paycheck 07/26/2017 8033 Sylvestre., Amanda
Paycheck 07/26/2017 8032 Sonnier., Marclynn
Paycheck 07/26/2017 7979 Armanov., Eric
Paycheck 07/26/2017 8028 Sanago., Youssouf
Paycheck 07/26/2017 8042 Zon, Ibrahim
Check 07/26/2017 Bank Charge
Check 07/26/2017
Bill Pmt -Check 07/27/2017 8071 PORTER
Bill Pmt -Check 07/27/2017 8070 PORTER

Page 7

Unaudited Statement

a
=

HK HK HK KK KKK KEK KK KH K KK KEK KK HEHE KK DC HK KK HEHE HK HK HE HEHE OK HE HEHEHE EE EEE OK PCH KE CHC KDE CCIE IE EO |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-573.05 -336,658.06
-496.86 -337,154.92
-214.58 -337, 369.50

-1,633.64 -339,003.14
-330.00 -339,333.14
-299.01 -339,632.15

-6,640.00 -346,272.15

-1,500.00 -347,772.15
-850.00 -348,622.15
-777.58 -349,399.73
-767.36 -350,167.09
-765.96 -350,933.05
-705.74 -351,638.79
-673.82 -352,312.61
-634.75 -352,947.36
-633.65 -353,581.01
-625.20 -354,206.21
-623.99 -354,830.20
-613.34 -355,443,54
-570.02 -356,013.56
-567.50 -356,581.06
-560.62 -357,141.68
-555.05 -357 696.73
-534.85 -358,231.58
-531.34 -358,762.92
-513.43 -359,276.35
-484.67 -359,761.02
-467.25 -360,228.27
-466.71 -360,694.98
-462.89 -361,157.87
-457.13 -361,615.00
-440.54 -362,055.54
-432.05 -362,487.59
-415.22 -362,902.81
-407.84 -363,310.65
-405.21 -363,715.86
-400.00 -364,115.86
-399.37 -364,515.23
-396.91 -364,912.14
-388.36 -365,300.50
-384.87 -365,685.37
-356.61 -366,041.98
-356.59 -366,398.57
-352.10 -366,750.67
-338.45 -367,089.12
-330.84 -367,419.96
-326.49 -367,746.45
-315.16 -368,061.61
~310.71 -368,372.32
-275.46 -368,647.78
-270.91 -368,918.69
-249.33 -369,168.02
-214.69 -369,382.71
-201.40 -369,584.11
-191.04 -369,775.15
-191.00 -369,966.15
-179.24 -370,145.39
~175.95 -370,321.34
-159.82 -370,481.16
-159.61 -370,640.77
-147.06 -370,787.83
-134.76 -370,922.59

-85.97 -371,008.56
-50.56 -371,059.12
-50.00 -371,109.12
-3.50 -371,112.62
-500.00 -371,612.62
-500.00 -372,112.62
Case 1-1 /-40104-Ccec

5:22 PM
08/17/17

Type

Check
Check
Check
Bill Pmt -Check
Check
Check
Bill Pmt -Check
Check
Check
Bill Pmt -Check
Check

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

Date

07/27/2017

07/28/2017
07/28/2017
07/29/2017
07/31/2017
07/31/2017
07/31/2017
07/31/2017
07/31/2017
07/31/2017
07/31/2017

Num

Total Checks and Payments

Deposits and Credits - 33 items

Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit

Total Deposits and Credits

07/03/2017
07/03/2017
07/05/2017
07/05/2017
07/06/2017
07/07/2017
07/07/2017
07/10/2017
07/10/2017
07/11/2017
07/12/2017
07/12/2017
07/13/2017
07/13/2017
07/14/2017
07/17/2017
07/17/2017
07/17/2017
07/18/2017
07/19/2017
07/20/2017
07/21/2017
07/24/2017
07/24/2017
07/25/2017
07/26/2017
07/27/2017
07/27/2017
07/28/2017
07/28/2017
07/28/2017
07/31/2017
07/31/2017

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 131 items

Check
Check
Check
Check
Bill Pmt -Check
Check
Check
General Journal
Check
Check
Check
Check

03/08/2017
03/14/2017
03/21/2017
03/21/2017
03/27/2017
03/28/2017
04/12/2017
04/13/2017
04/18/2017
04/18/2017
04/18/2017
04/18/2017

100062
100121
100205
100195
6793
100240
100343
150
100428
100405
100409
100421

 

Name

Fiumefreddo., Audra
Bank Charge
Jetro Cash & Carry

Amex

Manhattan Beer
Petrosyants., Robert
Herrera, Eriberto
Jetro Cash & Carry
Roberts, Germaine

Abdel, Konate
Sanchez, Santiago
Wandaogo, Abdoul
Adechina, Adeleke
United Paper and Ri...
Block, Amber
Bradley, Jesenia
Cmeron, Jermaine
Wells, Tatasha Lee
Cuascut, Ayja
Bermudez, Cesar
Rivera, Leonardo

Page 8
Unaudited Statement

Q
=

HK KK CC |

> >< >< DK DK KOK OK OK OOK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OOK OK OK OK OOK

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

 

 

Amount Balance
-151.34 -372,263.96
-130.20 -372,394.16

-25.00 -372,419.16
-890.00 -373,309.16
-6,000.00 -379,309.16
-2,500.00 -381,809.16
-705.80 -382,514.96
-§90.23 -383,105.19
-485.12 -383,590.31
-417.26 -384,007.57
-257.34 -384,264.91
-384,264.91 -384 264.91
3,315.44 3,315.44
32,869.56 36,185.00
6,189.19 42,374.19
31,115.96 73,490.15
8,070.60 81,560.75
3,260.95 84,821.70
6,500.00 91,321.70
3,672.32 94,994.02
24,737.52 119,731.54
26,464.77 146,196.31
1,661.57 147,857.88
10,000.00 157,857.88
1,022.94 158,880.82
1,655.98 160,536.80
4,401.60 164,938.40
4,768.62 169,707.02
13,000.00 182,707.02
34,621.16 217,328.18
30,358.65 247,686.83
2,792.85 250,479.68
2,992.90 253,472.58
3,274.78 256,747.36
7,435.09 264,182.45
26,471.05 290,653.50
29,895.88 320,549.38
2,080.39 322,629.77
2,189.32 324,819.09
14,000.00 338,819.09
3,000.00 341,819.09
3,775.00 345,594.09
4,727.42 350,321.51
4,086.88 354,408.39
31,926.76 386,335.15
386,335.15 386,335.15
2,070.24 2,070.24
2,070.24 2,226.67
-511.84 -511.84
-603.27 -1,115.11
-269.21 1,384.32
-142.40 -1,526.72
-202.00 -1,728.72
-376.18 -2,104.90
-436.43 -2,541.33
-1,000.00 -3,541.33
-217.83 -3,759.16
-172.55 -3,931.71
-115.21 -4,046.92
-39.41 -4,086.33
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Type

Check

Check

Check

Check

Check

Check

Check

Check

Check

Bill Pmt -Check
Bill Pmt -Check
General Journal
General Journal
Check

Check

Check

Check

Check

Check

Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Bill Pmt -Check
Check

Bill Pmt -Check
General Journal
Check

Bill Pmt -Check
General Journal
Bill Pmt -Check
Check

Check

Check

Check

Check

Check

Check

Check

Check

Check

Genera! Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
Paycheck
Paycheck
Paycheck
Paycheck
Paycheck
Paycheck
Paycheck
Paycheck

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Date Num Name
04/25/2017 100450 Rodriguez, Kiana
05/15/2017
05/16/2017 100617 —_ Foster, Andrew
05/17/2017 100641 Rodriguez, Kiana
05/23/2017
05/24/2017
05/24/2017 7486 PORTER
05/24/2017 100678 Block, Amber
05/24/2017 100738 Traore, Justin
05/26/2017 7513 MAS Security Assoc...
05/26/2017 7518 Union Beer Distribut...
05/30/2017 102
05/31/2017 103
06/06/2017 100708 Doucoure, Mohamed
06/06/2017 100706 Wilson, Adriel
06/06/2017 100704 — Clyne, Kimberly
06/06/2017 100705 Petrosyants, Robert
06/06/2017 100707 Zamboni, Cosmin
06/06/2017 100709 THOMAS, PAUL
06/09/2017 7523 Nolooc Electronics, |...
06/22/2017 7622 Manhattan Beer
06/23/2017 7623 MAS Security Assoc...
06/23/2017 7635 OREL PRODUCE, INC
06/26/2017 007590 Jetro Cash & Carry
06/28/2017 007589 Yaderki Mena
06/28/2017 007588 Manhattan Beer
06/29/2017 007639 Jetro Cash & Carry
06/29/2017 7592 Shawdi Kulture hot 97
06/30/2017 7655 MAS Security Assoc...
06/30/2017 126 Garcia, Lusmary
07/03/2017
07/05/2017 7641 Pat LaFrieda
07/06/2017 151 Sonnier., Marclynn
07/07/2017 7660 242 Wood Food
07/07/2017 7646
07/10/2017 7641
07/13/2017 7821
07/14/2017 7808
07/14/2017
07/17/2017 7830
07/17/2017 7805
07/17/2017 7807
07/17/2017 7822
07/17/2017 7811
07/18/2017 131 Foster, Andrew
07/18/2017 122 Kabore, Madi
07/18/2017 123 Kandioura, Barry
07/18/2017 133 Bowater-Skelly, Aedn
07/18/2017 130 Ouedraogo, Ismael
07/18/2017 119 Shaw, Prema
07/18/2017 127 Garcia, Anyely
07/18/2017 121 Monterroso, Jamie
07/18/2017 120 Lenard, Nikia
07/18/2017 132 Compoare., Aziz
07/18/2017 129 Rysyk, Lyubomyr
07/18/2017 125 Block, Amber
07/18/2017 128 Giles., Kaisey
07/18/2017 124 Kinda, Aime
07/18/2017 118 zon, ibraham
07/19/2017 149 Doucoure., Mohamed
07/19/2017 7879 Honore., Mikail
07/19/2017 7883 McCulloch., Courtney
07/19/2017 7957 Lenard, Nikia S
07/19/2017 7870 Bailey., Ariana
07/19/2017 7950 Block., Amber K
07/19/2017 7884 Mddidarul., Alam
07/19/2017 7901 Birch., Brittany
07/19/2017 7926 Quinones, Abigail

Page 9
Unaudited Statement

Clr

M

=2£2e

SESS S225

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance

-686.57 -4,772.90
-6,000.00 -10,772.90
-338.55 -11,111.45
-686.57 -11,798.02
-8,441.71 -20,239.73
-1,500.00 -21,739.73
-500.00 -22,239.73
-219.43 -22,459.16
-166.20 -22,625.36
-3,552.00 -26,177.36
-161.00 -26 338.36
-3,326.21 -29,664.57
-5,860.54 -35,525.11
-1,213.85 -36,738.96
-803.19 -37,542.15
-664.52 -38,206.67
-435.00 -38 641.67
-429.49 -39,071.16
-424.95 -39,496.11
-163.31 -39,659.42
-995.75 -40,655.17
-4,442.00 -45,097.17
-1,281.00 -46,378.17
-1,750.00 -48,128.17
-775.00 -48, 903.17
-239.75 -49, 142.92
-1,150.00 -50,292.92
-300.00 -50,592.92
-4,830.00 -55,422.92
-229.85 -55,652.77
-6,924.15 -62,576.92
-183.60 -62,760.52
-239.98 -63,000.50
-1,500.00 -64,500.50
-630.56 -65,131.06
-721.28 -65,852.34
-378.24 -66,230.58
-264.69 -66,495.27
-51.96 -66,547.23
-483.20 -67,030.43
-467.49 -67,497.92
-420.12 -67,918.04
-328.98 -68 247.02
-322.98 -68,570.00
-762.56 -69,332.56
-689.55 -70,022.11
-688.92 -70,711.03
-645.15 -71,356.18
-614.49 -71,970.67
-597.93 -72,568.60
-559.49 -73,128.09
-553.51 -73,681.60
-514.38 -74,195.98
-484,42 -74,680.40
-476.72 -75,157.12
-367.71 -75,524.83
-192.68 -75,717.51
-161.82 -75,879.33
-119.41 -75,998.74
-1,205.27 -77,204.01
-658.86 -77 862.87
-516.55 -78,379.42
-509.73 -78,889.15
-449.67 -79, 338.82
-362.65 -79,701.47
-333.92 -80,035.39
-163.64 -80,199.03
-136.54 -80,335.57
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Check 07/20/2017 7712
Bill Pmt -Check 07/21/2017 7988 MAS Security Assoc...
Bill Pmt -Check 07/21/2017 7972 MAS Security Assoc...
Bill Pmt -Check 07/21/2017 7987 Joyce Beer Gas
Bill Pmt -Check 07/26/2017 8072 MAS Security Assoc...
Paycheck 07/26/2017 8194 Doucoure., Mohamed
Paycheck 07/26/2017 8053 McCulloch., Courtney
Paycheck 07/26/2017 8031 Shaw., Prema
Paycheck 07/26/2017 8054 Mddidarul., Alam
Paycheck 07/26/2017 7983 Mddidarul., Alam
Paycheck 07/26/2017 7992 Abrorov {2}, Djamshed
Paycheck 07/26/2017 8049 Compaore., Saidou
Paycheck 07/26/2017 8030 Scott., Sean
Paycheck 07/26/2017 8026 Rodriguez., Zoey
Paycheck 07/26/2017 7997 Bowater-Skelly., Aedn
Paycheck 07/26/2017 8007 Giles., Kaisey
Paycheck 07/26/2017 8050 Felix., Garison
Paycheck 07/26/2017 7996 Block., Amber K
Paycheck 07/26/2017 8060 Santana., Indisme!
Paycheck 07/26/2017 8001 Dixon, Shakeem
Paycheck 07/26/2017 8065 ZAVGARDONIAIA., ...
Paycheck 07/26/2017 8066 Zida, Maomet
Paycheck 07/26/2017 8025 Quinones, Abigail
Paycheck 07/26/2017 8039 Wong,., Channelle
Paycheck 07/26/2017 7995 Birch., Brittany
Paycheck 07/26/2017 8000 Diston, Kinneal
Paycheck 07/26/2017 8029 Sanfilippo, Joseph
Paycheck 07/26/2017 8010 Kassoum, Nikiema
Paycheck 07/26/2017 8005 Garcia, Lusmary
Paycheck 07/26/2017 8055 Murphy., Joshua
Paycheck 07/26/2017 8045 Bailey., Ariana
Check 07/26/2017 Billmatrix - Verizon
Bill Pmt -Check 07/27/2017 8099 Erwin Meadows
Bill Pmt -Check 07/28/2017 8192 OREL PRODUCE, INC
Bill Pmt -Check 07/28/2017 8193 Out of The Blue Wh...
Bill Pmt -Check 07/28/2017 8189 Multi-Flow Industries
Bill Pmt -Check 07/28/2017 8186 ELIS BREAD
Bill Pmt -Check 07/28/2017 8190 Northern Shore Linen
Bill Pmt -Check 07/28/2017 8191 NYC FIRE DEPT
Bill Pmt -Check 07/28/2017 8187 Golden Malted
Bill Pmt -Check 07/28/2017 8185 Bindi
Bill Pmt -Check 07/28/2017 8178 Pat LaFrieda
Bill Pmt -Check 07/28/2017 8188 Joyce Beer Gas
Bill Pmt -Check 07/30/2017 8177 Jetro Cash & Carry
Bill Pmt -Check 07/30/2017 Tommy's Window Cl...
Check 07/31/2017
Bill Pmt -Check 07/31/2017 8179 Jetro Cash & Carry
Bill Pmt -Check 07/31/2017 8180 Pat LaFrieda
Check 07/31/2017 7924
Check 07/31/2017 8074
Check 07/31/2017 7694 Roberts, Germayne

Total Checks and Payments
Deposits and Credits - 56 items
Check 04/13/2017 7333
Check 04/13/2017 7357 Cmeron, Jermaine
Deposit 05/19/2017
Deposit 05/23/2017
General Journal 06/06/2017 109 THOMAS, PAUL
General Journal 06/06/2017 111 Zamboni, Cosmin
General Journal 06/06/2017 108 Petrosyants, Robert
General Journal 06/06/2017 106 Clyne, Kimberly
General Journal 06/06/2017 110 Wilson, Adriel
General Journal 06/06/2017 107 Doucoure, Mohamed
General Journal 06/06/2017 105
Bill Pmt -Check 06/23/2017 7636 Out of The Blue Wh..,
General Journal 06/30/2017 118R zon, ibraham
General Journal 06/30/2017 117
Page 10

Unaudited Statement

Q

zezzeezzezezezzze = |

2S S225 2 BS22222225 S252 5S 2222222

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

 

Amount Balance
-413.51 -80,749.08
-5,010.00 -85,759.08
-4,870.00 -90,629.08
-130.00 -90,759.08
-4,660.00 -95,419.08
-1,205.27 -96 624.35
-586.34 -97,210.69
-495.76 -97,706.45
-466.79 -98,173.24
-459.75 -98,632.99
-432.84 -99,065.83
-427.73 -99,493.56
-371.60 -99,865.16
-346.05 -100,211.21
-338.68 -100,549.89
-332.16 -100,882.05
-310.33 -101,192.38
-297.34 ~101,489.72
-290.67 -101,780.39
-279.60 -102,059.99
-226.68 ~102,286.67
-219.14 -102,505.81
-216.96 ~102,722.77
-202.41 -102,925.18
-160.42 -103,085.60
-140.41 -103,226.01
-138.54 -103,364.55
-133,95 -103,498.50
-133.14 -103,631.64
-129.03 -103,760.67
-96,95 -103,857.62
-2,90 -103,860.52
-104.00 -103,964.52
-1,932.00 ~105,896.52
-985.50 -106, 882.02
-859.25 -107,741.27
-542.80 -108,284.07
-522.37 -108,806.44
-520.00 -109,326.44
-400.00 -109,726.44
-284.59 -110,011.03
-280.80 -110,291.83
-130.00 -110,421.83
-405.26 -110,827.09
-163,15 -110,990.24
-2,500.00 -113,490.24
-1,770.00 -115,260,24
-702.97 -115,963.214
-590.23 -116,553.44
-485.12 -117,038.56
-257.34 -117,295.90
-117,295.90 -117,295.90
0.00 0.00
0.00 0.00
1,800.00 1,800.00
20,000.00 21,800.00
424.95 22,224.95
429.49 22,654.44
435.00 23,089.44
664.52 23,753.96
803.19 24,557.15
1,213.85 25,771.00
1,863.23 27,634.23
0,00 27,634.23
119.41 27,753.64
54,829.12 82,582.76
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

Name

 

Type Date Num
Check 07/06/2017 7729
Bill Pmt -Check 07/14/2017 7862
Bill Pmt -Check 07/14/2017 7859
Check 07/18/2017 7906
Check 07/18/2017 7907
Check 07/18/2017 7908
Check 07/18/2017 7910
Check 07/18/2017 7851
Check 07/18/2017 7850
Check 07/18/2017 7849
Check 07/18/2017 7848
Check 07/18/2017 7909
Check 07/18/2017 7919
Check 07/18/2017 7915
Check 07/18/2017 7930
Check 07/18/2017 7929
Check 07/18/2017 7927
Check 07/18/2017 7925
Check 07/18/2017 7941
Check 07/18/2017 7852
Check 07/18/2017 7902
Check 07/18/2017 7912

07/18/2017 124R
07/18/2017 128R
07/18/2017 126R
07/18/2017 125R
07/18/2017 129R
07/18/2017 132R
07/18/2017 120R
07/18/2017 121R
07/18/2017 127R
07/18/2017 119R
07/18/2017 130R
07/18/2017 133R
07/18/2017 123R
07/18/2017 122R
07/18/2017 131R

General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General Journal
General! Journal
General! Journal
General Journal
General Journal
General Journal
General Journal

Check 07/19/2017 8002
Bill Pmt -Check 07/21/2017 7984
Bill Pmt -Check 07/24/2017 7976

07/31/2017 150R
07/31/2017 149R

General Journal
General Journal

Total Deposits and Credits
Total Uncleared Transactions
Register Balance as of 07/31/2017

New Transactions
Checks and Payments - 376 items

Check 08/01/2017

Bill Pmt -Check 08/01/2017 8195
Bill Pmt -Check 08/01/2017 8181
Bill Pmt -Check 08/02/2017

Bill Pmt -Check 08/02/2017

Check 08/02/2017

Bill Pmt -Check 08/02/2017 8164
Paycheck 08/02/2017 8084
Paycheck 08/02/2017 8161
Paycheck 08/02/2017 8127
Paycheck 08/02/2017 8139
Paycheck 08/02/2017 8126
Bill Pmt -Check 08/02/2017 8182
Bill Pmt -Check 08/02/2017 8184
Paycheck 08/02/2017 8143
Paycheck 08/02/2017 8108
Paycheck 08/02/2017 8095
Paycheck 08/02/2017 8131

Sonnier., Marclynn
Out of The Blue Wh...
Multi-Flow Industries
Garcia, Lusmary
Garcia, Anyely
Giles., Kaisey
Kandioura, Barry
Quedraogo, Ismael
Foster, Andrew
Compoare., Aziz
Bowater-Skelly, Aedn
Kabore, Madi
Monterroso, Jamie
Lenard, Nikia

Shaw, Prema

Scott, Sean
Rodriguez, Zoey
Piccolo, James

zon, ibraham

Rysyk, Lyubomyr
Block, Amber

Kinda, Aime

Kinda, Aime

Giles., Kaisey
Garcia, Lusmary
Block, Amber

Rysyk, Lyubomyr
Compoare., Aziz
Lenard, Nikia
Monterroso, Jamie
Garcia, Anyely

Shaw, Prema
Quedraogo, Ismael
Bowater-Skelly, Aedn
Kandioura, Barry
Kabore, Madi

Foster, Andrew
Doucoure., Mohamed
OREL PRODUCE, INC
Jetro Cash & Carry
Cmeron, Jermaine
Doucoure., Mohamed

242 Wood Food
United Paper and Ri...
Empire merchants
Southern Wine and ...

ROHAN LONGFORE
Honore., Mikail
Yamazaki., Pedro
Kandioura., Barry
Morales., Diego
Kabore., Madi

Pat LaFrieda
Manhattan Beer
Petrosyants., Robert
Castillo., Alberto
Tapsoba, Rasmane
Kone., Idrissa

Page 11
Unaudited Statement

Clr

ZS2S2222525252535 S232252222

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

 

 

 

Amount Balance
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
0.00 82,582.76
161.82 82,744.58
192.68 82,937.26
229.85 83,167.11
367.71 83,534.82
476.72 84,011.54
484.42 84,495.96
514.38 85,010.34
553.51 85,563.85
559.49 86,123.34
597.93 86,721.27
614.49 87,335.76
645.15 87,980.91
688.92 88,669.83
689.55 89,359.38
762.56 90,121.94
0.00 90,121.94
0.00 90,121.94
0.00 90,121.94
1,000.00 91,121.94
1,205.27 92,327.21
92,327.21 92,327.21
-24,968.69 -24,968.69
-22,898.45 -22,742.02
-7,440.80 -7,440.80
-1,500.00 -8,940.80
-114.00 -9,054.80
-12,500.00 -21,554.80
-6,634.41 -28,189.21
-2,444.27 -30,633.48
-850.00 -31,483.48
-821.45 -32,304.93
-734.75 -33,039.68
-720.34 -33,760.02
-666.20 -34,426.22
-661.16 -35,087.38
-652.06 -35,739.44
-637.00 -36,376.44
-613.35 -36,989.79
-604.62 -37,594.41
-600.55 -38, 194.96
-581.92 -38,776.88
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

 

Type Date Num Name
Paycheck 08/02/2017 8110 Chung., Rwanda
Paycheck 08/02/2017 8128 Keita., Cheik
Paycheck 08/02/2017 8142 Quedraogo., Ismael
Paycheck 08/02/2017 8134 McCulloch., Courtney
Paycheck 08/02/2017 8087 McCulloch., Courtney
Paycheck 08/02/2017 8157 Wandaogo., Abdoul
Paycheck 08/02/2017 8130 Konate., Abdel
Paycheck 08/02/2017 8100 Abrorov {2}, Djamshed
Bill Pmt -Check 08/02/2017 8175 PORTER
Bill Pmt -Check 08/02/2017 8176 PORTER
Paycheck 08/02/2017 8094 Seepersaud., Amanda
Paycheck 08/02/2017 8102 Aguilar, Javier
Paycheck 08/02/2017 8125 James., Eric
Paycheck 08/02/2017 8141 Mrani., Mouna
Paycheck 08/02/2017 8146 Rodriguez., Zoey
Paycheck 08/02/2017 8159 Willsey, Stephanie
Paycheck 08/02/2017 8122 Garcia., Anyely
Paycheck 08/02/2017 8162 Zamboni., Cosmin
Paycheck 08/02/2017 8085 Hoo-Fong., Paul
Paycheck 08/02/2017 8156 Traore., Drissa
Paycheck 08/02/2017 8136 Mddidarul., Alam
Paycheck 08/02/2017 8149 Sanago., Youssouf
Paycheck 08/02/2017 8153 Shaw., Prema
Paycheck 08/02/2017 8096 Toure., Malick
Paycheck 08/02/2017 8144 Piccolo., James
Paycheck 08/02/2017 8135 Mcleod., Herman
Paycheck 08/02/2017 8147 Rysyk., Lyubomyr
Paycheck 08/02/2017 8105 Bailey., Ariana
Paycheck 08/02/2017 8113 Compaore., Saidou
Paycheck 08/02/2017 8137 Mitra, Ciro
Paycheck 08/02/2017 8121 Foster., Andrew
Paycheck 08/02/2017 8124 Hoo-Fong., Paul
Paycheck 08/02/2017 8091 Roque., Jose
Paycheck 08/02/2017 8089 Ndiaye, Pape
Paycheck 08/02/2017 8119 Fiumefreddo., Audra
Paycheck 08/02/2017 8151 Sanfo, Prince
Paycheck 08/02/2017 8111 Clemons., Pierra
Paycheck 08/02/2017 8129 Kinda, Aime
Paycheck 08/02/2017 8088 Murphy., Joshua
Paycheck 08/02/2017 8150 Sanfilippo, Joseph
Paycheck 08/02/2017 8082 Compaore., Saidou
Paycheck 08/02/2017 8083 Felix., Garison
Paycheck 08/02/2017 8098 Zida, Maomet
Paycheck 08/02/2017 8097 ZAVGARDONIAIA., ...
Paycheck 08/02/2017 8107 Bowater-Skelly., Aedn
Paycheck 08/02/2017 8092 Roye., Chelsea
Paycheck 08/02/2017 8152 Scott., Sean
Paycheck 08/02/2017 8120 Floyd., Julissa
Paycheck 08/02/2017 8093 Santana., Indismel
Paycheck 08/02/2017 8118 Felix., Garison
Paycheck 08/02/2017 8101 Aguaiza., Luis
Paycheck 08/02/2017 8112 Clyne, Jonathan
Paycheck 08/02/2017 8133 Martinez, Naomi
Paycheck 08/02/2017 8115 Dixon, Shakeem
Paycheck 08/02/2017 8123 Giles., Kaisey
Paycheck 08/02/2017 8158 Wells., Tatasha Lee
Paycheck 08/02/2017 8132 Lenard, Nikia S
Paycheck 08/02/2017 8114 Compoare., Aziz
Paycheck 08/02/2017 8145 Ramirez, Nicolas
Paycheck 08/02/2017 8090 Rodriguez., Anibal
Paycheck 08/02/2017 8086 James., Eric
Paycheck 08/02/2017 8106 Birch., Brittany
Paycheck 08/02/2017 8155 Taylor, Fabian
Paycheck 08/02/2017 8138 Moldovan., Amanda
Paycheck 08/02/2017 8116 Dones, Cesar
Paycheck 08/02/2017 8103 Alston, Quadajaah
Paycheck 08/02/2017 8154 Sylvestre., Amanda
Paycheck 08/02/2017 8163 Zon, Ibrahim

Pago 12

Unaudited Statemeni

Q

SSSS25 SS2S2S2S2S2222252225 S2E2222E2=2 ESS SSS S SSS SSS SSS SSS SSS SSS SSS SSS SSEEE |

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-578.35 -39 355.23
-575.61 -39,930.84
-563.96 -40,494.80
-542.90 -41,037.70
-518.90 -41,556.60
-516.49 -42,073.09
-512.08 -42,585.17
-502.51 -43,087.68
-500.00 -43, 587.68
~500.00 -44,087.68
-486.20 -44,573.88
-480.28 -45,054.16
-473.85 -45,528.01
-473.82 -46,001.83
-471.61 -46,473.44
-469.14 -46,942.58
-467.81 -47,410.39
-467.26 -47 877.65
-465.84 -48,343.49
-458.90 -48,802.39
-457.61 -49,260.00
-452.95 -49,712.95
-451.69 -50,164.64
-439.79 -50,604.43
-430.81 -5 1,035.24
-427.21 -51,462.45
-420.19 -51,882.64
-408.50 -52,291.14
-398.66 -52,689.80
-398.07 -53,087.87
-375.25 -53,463.12
-373.86 -53,836.98
-356.78 -54,193.76
-356.22 -54,549,98
-361.31 -54,901.29
-349.43 -55,250,72
-348.70 -55,599.42
-339.37 -55,938.79
-337.67 -56,276.46
-325.89 -56 602.35
-324.67 -56,927.02
-307.57 -57 234.59
-305.24 -57,539.83
-297.17 -57,837.00
-289.84 -58,126.84
-286.86 -58,413.70
-283.64 -58,697.34
-265.94 -58,963.28
-243.04 -59,206.32
-238.54 -59 444,86
-233.81 -59,678.67
-224.83 -59,903.50
-223.89 -60,127.39
-223.83 -60,351.22
-214.87 -60,566.09
-196.93 -60,763.02
-192.67 -60,955.69
-187.23 -61,142.92
-184.96 -61,327.88
-178.78 -61,506.66
-168.56 -61,675.22
-156.30 -61,831.52
-156.20 -61,987.72
-147.98 -62,135.70
-145.45 -62,281.15
-140.51 -62,421.66
-120.38 -62,542.04
-113.26 -62,655.30
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 08/02/2017 8140 Mosley., Tarren
Paycheck 08/02/2017 8109 Charles, Christian
Paycheck 08/02/2017 8104 Auguste, Eder
Paycheck 08/02/2017 8160 Wong., Channelle
Paycheck 08/02/2017 8148 Sailsman, Renauta
Bill Pmt -Check 08/03/2017 8281 242 Wood Food
Bill Pmt -Check 08/03/2017 8197 CHEF DM INC
Bill Pmt -Check 08/03/2017 8196 242 Wood Food
Bill Pmt -Check 08/03/2017 8278 King Kaos Entertain...
Bill Pmt -Check 08/03/2017 8285 Kseniya Lozano
Bill Pmt -Check 08/03/2017 8284 Jason Rodriguez
Bill Pmt -Check 08/03/2017 7602 Tommy's Window Cl...
Liability Check 08/04/2017 E-pay United States Treas...
Liability Check 08/04/2017 E-pay United States Treas...
Liability Check 08/04/2017 E-pay NYS Income Tax
Bill Pmt -Check 08/04/2017 8291 OREL PRODUCE, INC
Bill Pmt -Check 08/04/2017 8292 Out of The Blue Wh...
Bill Pmt -Check 08/04/2017 8287 ELIS BREAD
Bill Pmt -Check 08/04/2017 8290 Northern Shore Linen
Bill Pmt -Check 08/04/2017 8288 Golden Malted
Bill Pmt -Check 08/04/2017 8286 Bindi
Check 08/04/2017 8178
Bill Pmt -Check 08/05/2017 8174 Jetro Cash & Carry
Check 08/07/2017
Bill Pmt -Check 08/07/2017 Southern Wine and ..,
Bill Pmt -Check 08/07/2017 Amex
Bill Pmt -Check 08/07/2017 8293 American Standard ...
Bill Pmt -Check 08/08/2017 Empire merchants
Check 08/08/2017 Fang Realty
Bill Pmt -Check 08/08/2017 8294 Fang Realty
Bill Pmt -Check 08/09/2017 8370 Jetro Cash & Carry
Bill Pmt -Check 08/09/2017 8277 CHEF DM INC
Bill Pmt -Check 08/09/2017 8172 Pat LaFrieda
Bill Pmt -Check 08/09/2017 8381 ROHAN LONGFORE
Paycheck 08/09/2017 8245 Mitra, Ciro
Paycheck 08/09/2017 8231 Gonzales, Jose
Paycheck 08/09/2017 8239 Kone., Idrissa
Paycheck 08/09/2017 8242 McCulloch., Courtney
Paycheck 08/09/2017 8272 Yamazaki., Pedro
Paycheck 08/09/2017 8235 Kandioura., Barry
Paycheck 08/09/2017 8237 Kinda, Aime
Paycheck 08/09/2017 8252 Petrosyants., Robert
Paycheck 08/09/2017 8247 Morales., Diego
Paycheck 08/09/2017 8215 Castillo., Alberto
Paycheck 08/09/2017 8251 OQuedraogo., Ismael
Paycheck 08/09/2017 8243 Mcleod., Herman
Paycheck 08/09/2017 8253 Piccolo., James
Paycheck 08/09/2017 8234 Kabore., Madi
Paycheck 08/09/2017 8260 Rysyk., Lyubomyr
Paycheck 08/09/2017 8207 Abrorov {2}, Djamshed
Paycheck 08/09/2017 8232 Hoo-Fong., Paul
Bill Pmt -Check 08/09/2017 8173 PORTER
Bill Pmt -Check 08/09/2017 8380 PORTER
Paycheck 08/09/2017 8265 Shaw., Prema
Paycheck 08/09/2017 8233 James., Eric
Paycheck 08/09/2017 8240 Lenard, Nikia S
Paycheck 08/09/2017 8271 Willsey, Stephanie
Paycheck 08/09/2017 8273 Zamboni., Cosmin
Paycheck 08/09/2017 8238 Konate., Abdel
Paycheck 08/09/2017 8203 Seepersaud., Amanda
Paycheck 08/09/2017 8209 Aguilar, Javier
Paycheck 08/09/2017 8228 Foster., Andrew
Paycheck 08/09/2017 8218 Chung., Rwanda
Paycheck 08/09/2017 8244 Mddidarul., Alam
Paycheck 08/09/2017 8204 Tapsoba, Rasmane
Paycheck 08/09/2017 8269 Wandaogo., Abdoul
Paycheck 08/09/2017 8257 Rodriguez., Zoey
Paycheck 08/09/2017 8250 Murphy., Joshua

Page 13
Unaudited Statement

Q
=

S222 S22 52S252 2225555555555 255 S55 SE z<z=|

SSZS2=2 5 2222525 S2E555 S222 25222=2=2

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-102.87 -62,758.17
-84.76 -62,842.93
-75.71 -62,918.64
-75.25 -62,993.89
-65.62 -63,059.51
-4,000.00 -67,059.51
-1,705.00 -68,764.51
-1,500.00 -70,264.51
-751.50 -71,016.01
-238.60 -71,254.61
-200.00 -71,454.61
-163.15 -71,617.76
-9,385.20 -81,002.96
-7,910.83 -88,913.79
-1,961.26 -90,875.05
-1,567.00 -92,442.05
-1,435.50 -93,877.55
-620.80 -94,498.35
-531.01 -95,029.36
-400.00 -95,429.36
-332.47 -95,761.83
-280.00 -96,041.83
-1,090.00 -97,131.83
-6,000.00 -103,131.83
-3,415.36 -106,547.19
-2,000.00 -108,547.19
-1,300.00 -109,847.19
-13,189.01 -123,036.20
-10,000.00 -133,036.20
-6,573.18 -139,609.38
-3,480.00 -143,089.38
-1,670.00 -144,759.38
-885.66 -145,645.04
-850.00 -146,495.04
-812.58 -147,307.62
-797.68 -148,105.30
-741.71 -148,847.01
-707.89 -149,554.90
-704.91 -150,259.81
-693.18 -150,952.99
-650.91 -151,603.90
-613.34 -152,217.24
-597.84 -152,815.08
-595.88 -153,410,96
-592.66 -154,003.62
-575.86 -154,579.48
-561.00 -155,140.48
-560.82 -155,701.30
-546.15 -156,247.45
-527.97 -156,775.42
-506.03 -157,281.45
-500.00 -157,781.45
-500.00 -158,281.45
-499,53 -158,780.98
-496.08 -159,277.06
-489.42 -159, 766.48
-469.14 -160,235.62
-467.25 -160,702.87
-460.63 -161,163,50
-454.65 -161,618.15
-4§4.34 -162,072.49
-448.98 -162,521.47
-448.22 -162,969.69
-442.77 -163,412.46
-434.96 -163,847.42
-421.76 -164,269.18
-420.94 -164,690.12
-399.29 -165,089.41
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017
Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 08/09/2017 8236 Keita., Cheik
Paycheck 08/09/2017 8249 Mrani., Mouna
Bill Pmt -Check 08/09/2017 8171 Pat LaFrieda
Paycheck 08/09/2017 8214 Bowater-Skelly., Aedn
Paycheck 08/09/2017 8199 Ndiaye, Pape
Bill Pmt -Check 08/09/2017 8372 Manhattan Beer
Paycheck 08/09/2017 8205 Toure., Malick
Paycheck 08/09/2017 8220 Clyne, Jonathan
Paycheck 08/09/2017 8221 Compaore., Saidou
Paycheck 08/09/2017 8208 Aguaiza., Luis
Paycheck 08/09/2017 8258 Roque., Jose
Paycheck 08/09/2017 8267 Taylor, Fabian
Paycheck 08/09/2017 8229 Garcia., Anyely
Paycheck 08/09/2017 8210 Alston, Quadajaah
Paycheck 08/09/2017 8268 Traore., Drissa
Paycheck 08/09/2017 8200 Rodriguez., Anibal
Paycheck 08/09/2017 8222 Compoare., Aziz
Paycheck 08/09/2017 8224 Dones, Cesar
Paycheck 08/09/2017 8262 Sanfilippo, Joseph
Paycheck 08/09/2017 8275 Zida, Maomet
Paycheck 08/09/2017 8211 Arsene, Tienrebeogo
Paycheck 08/09/2017 8198 Murphy., Joshua
Paycheck 08/09/2017 8255 Ramirez, Nicolas
Paycheck 08/09/2017 8230 Giles., Kaisey
Paycheck 08/09/2017 8263 Sanfo, Prince
Paycheck 08/09/2017 8202 Roye., Chelsea
Paycheck 08/09/2017 8248 Mosley., Tarren
Paycheck 08/09/2017 8274 ZAVGARDONIAIA., ...
Paycheck 08/09/2017 8206 Zida, Maomet
Paycheck 08/09/2017 8226 Fiumefreddo., Audra
Paycheck 08/09/2017 8223 Dixon, Shakeem
Paycheck 08/09/2017 8201 Roque., Jose
Paycheck 08/09/2017 8246 Moldovan., Amanda
Paycheck 08/09/2017 8254 Quinones, Abigail
Paycheck 08/09/2017 8219 Clemons., Pierra
Paycheck 08/09/2017 8264 Scott., Sean
Paycheck 08/09/2017 8256 Rodriguez., Anibal
Paycheck 08/09/2017 8270 Wells., Tatasha Lee
Paycheck 08/09/2017 8212 Auguste, Eder
Paycheck 08/09/2017 8227 Floyd., Julissa
Paycheck 08/09/2017 8217 Charles, Christian
Paycheck 08/09/2017 8241 Martinez, Naomi
Paycheck 08/09/2017 8261 Sanago., Youssouf
Paycheck 08/09/2017 8259 Roye., Chelsea
Paycheck 08/09/2017 8213 Birch., Brittany
Paycheck 08/09/2017 8276 Zon, Ibrahim
Paycheck 08/09/2017 8266 Sylvestre., Amanda
Paycheck 08/09/2017 8216 Castro, Maria
Paycheck 08/09/2017 8225 Felix., Garison
Check 08/09/2017
Bill Pmt -Check 08/10/2017 8383 Jason Rodriguez
Bill Pmt -Check 08/10/2017 8382 Kseniya Lozano
Bill Pmt -Check 08/11/2017 8389 MAS Security Assoc...
Liability Check 08/11/2017 E-pay NYS tncome Tax
Bill Pmt -Check 08/11/2017 8384 Out of The Blue Wh...
Bill Pmt -Check 08/11/2017 8391 OREL PRODUCE, INC
Bitl Pmt -Check 08/11/2017 8387 ELIS BREAD
Bill Pmt -Check 08/11/2017 8390 Northern Shore Linen
Bill Pmt -Check 08/11/2017 8388 Golden Malted
Bilt Pmt -Check 08/11/2017 8385 Multi-Flow Industries
Bill Pmt -Check 08/11/2017 8386 Bindi
Check 08/11/2017
Bill Pmt -Check 08/12/2017 8170 Jetro Cash & Carry
Check 08/14/2017
Bill Pmt -Check 08/14/2017 Southern Wine and ...
Bill Pmt -Check 08/14/2017 8169 Jetro Cash & Carry
Bill Pmt -Check 08/14/2017 8168 Pat LaFrieda
Bill Pmt -Check 08/15/2017 8394 American Standard ...

Page 14
Unaudited Statement

9
=

S S55525 S552 55255 5555255 === |

SE2SS2=2S2=2252 SESEES5 S325 S255 E2

SSS2S2=222=

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-398.03 -165,487.44
-394.01 -165,881.45
-387.40 -166,268.85
-380.73 -166,649.58
-373.54 -167,023.12
-366.90 -167 390.02
-360.28 -167,750.30
-342,52 -168,092.82
-340.78 -168,433.60
-335.86 -168,769.46
-330.38 -169,099.84
-328.41 -169,428.25
-324.34 ~169,752.59
-319.82 -170,072.41
~316.61 -170,389,02
-316.44 -170,705.46
-313.77 -171,019.23
-291,58 -171,310.81
-288.60 -171,599.41
-286.60 -171,886.01
-286.30 -172,172.31
-272.16 -172,444.47
-262.45 ~172,706.92
-255.88 -172,962.80
-251.58 -173,214.38
-245.49 -173,459.87
-243.87 -173,703.74
-228.56 -173,932.30
-217.63 -174,149.93
-216.08 -174,366.01
-215.58 -174,581.59
-214.93 -174,796.52
-213.18 -175,009.70
-212.11 -175,221.81
-211.47 -175,433.28
-210.56 -175,643.84
-208.89 -175,852.73
-195.19 -176,047.92
-178.46 -176,226.38
-172.24 -176,398.62
-170.94 -176,569,56
-170.26 -176,739.82
-147.88 -176,887.70
-147.35 -177,035.05
-139.68 -177,174.73
-128.82 -177,303.55
-121.62 -177,425.17

-72.64 -177,497.81
-66.33 -177,564.14
-46.00 -177,610.14
-600.00 -178,210.14
-165.00 -178,375.14
-4,830.00 -183,205.14
-1,827.00 -185,032.14
-1,164.50 -186,196.64
-1,120.00 -187,316.64
-483.20 -187,799.84
-441.72 -188,241.56
-400.00 -188,641.56
-349.43 -188,990.99
-206.89 -189,197.88
-25.00 -189,222.88
-910.00 -190,132.88
-6,000.00 -196,132.88
-1,925.52 -198,058.40
-1,770.00 -199,828.40
-1,071.59 -200,899.99
-1,300.00 -202,199.99
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name Clr
Bill Pmt -Check 08/15/2017 7862 Out of The Blue Wh... M
Bill Pmt -Check 08/16/2017 8369 CHEF DM INC
Bill Pmt -Check 08/16/2017 8395 King Kaos Entertain...
Bill Pmt -Check 08/16/2017 8398 ROHAN LONGFORC
Paycheck 08/16/2017 8325 Kandioura., Barry
Paycheck 08/16/2017 8321 Gonzales, Jose
Paycheck 08/16/2017 8337 Morales., Diego
Paycheck 08/16/2017 8366 Yamazaki., Pedro
Paycheck 08/16/2017 8341 Ouedraogo., Ismaei
Paycheck 08/16/2017 8335 Mitra, Ciro
Paycheck 08/16/2017 8298 Tapsoba, Rasmane
Paycheck 08/16/2017 8342 Petrosyants., Robert
Paycheck 08/16/2017 8332 McCulloch., Courtney
Paycheck 08/16/2017 8324 Kabore., Madi
Paycheck 08/16/2017 8350 Rysyk., Lyubomyr
Paycheck 08/16/2017 8315 Dones, Cesar
Paycheck 08/16/2017 8330 Kone., Idrissa
Paycheck 08/16/2017 8343 Piccolo., James
Paycheck 08/16/2017 8316 Fiumefreddo., Audra
Paycheck 08/16/2017 8310 Chung., Rwanda
Paycheck 08/16/2017 8363 Wandaogo., Abdoul
Paycheck 08/16/2017 8329 Konate., Abdel
Paycheck 08/16/2017 8396 Traore., Drissa
Paycheck 08/16/2017 8333 Mcleod., Herman
Bill Pmt -Check 08/16/2017 8399 PORTER
Bill Pmt -Check 08/16/2017 8400 PORTER
Paycheck 08/16/2017 8302 Aguilar, Javier
Paycheck 08/16/2017 8358 Tapsoba, Rasmane
Paycheck 08/16/2017 8300 Abrorov {2}, Djamshed
Paycheck 08/16/2017 8323 James., Eric
Paycheck 08/16/2017 8307 Castillo., Alberto
Paycheck 08/16/2017 8326 Keita., Cheik
Paycheck 08/16/2017 8365 Willsey, Stephanie
Paycheck 08/16/2017 8304 Arsene, Tienrebeogo
Paycheck 08/16/2017 8313 Compoare., Aziz
Paycheck 08/16/2017 8360 Toure., Malick
Paycheck 08/16/2017 8347 Rodriguez., Zoey
Paycheck 08/16/2017 8339 Mrani., Mouna
Paycheck 08/16/2017 8299 Toure., Malick
Paycheck 08/16/2017 8356 Shaw., Prema
Paycheck 08/16/2017 8301 Aguaiza., Luis
Paycheck 08/16/2017 8328 Kinda, Aime
Paycheck 08/16/2017 8295 Ndiaye, Pape
Paycheck 08/16/2017 8338 Mosley., Tarren
Paycheck 08/16/2017 8297 Seepersaud., Amanda
Paycheck 08/16/2017 8334 Mddidarul., Alam
Paycheck 08/16/2017 8351 Sanfilippo, Joseph
Paycheck 08/16/2017 8349 Roye., Chelsea
Paycheck 08/16/2017 8319 Garcia., Anyely
Paycheck 08/16/2017 8312 Compaore., Saidou
Paycheck 08/16/2017 8296 Santana., Indismel
Paycheck 08/16/2017 8354 Scott., Sean
Paycheck 08/16/2017 8314 Dixon, Shakeem
Paycheck 08/16/2017 8359 Taylor, Fabian
Paycheck 08/16/2017 8340 Ndiaye, Pape
Paycheck 08/16/2017 8306 Block., Amber K
Paycheck 08/16/2017 8367 ZAVGARDONIAIA., ...
Paycheck 08/16/2017 8311 Clyne, Jonathan
Paycheck 08/16/2017 8348 Roque., Jose
Paycheck 08/16/2017 8345 Ramirez, Nicolas
Paycheck 08/16/2017 8352 Sanfo, Prince
Paycheck 08/16/2017 8393 Andre, Francis
Paycheck 08/16/2017 8322 Herrera., Eriberto
Paycheck 08/16/2017 8320 Giles., Kaisey
Paycheck 08/16/2017 8318 Foster., Andrew
Paycheck 08/16/2017 8344 Quinones, Abigail
Paycheck 08/16/2017 8327 Kigan., Joseph A
Paycheck 08/16/2017 8336 Moldovan., Amanda

Page 15
Unaudited Statement

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-1,164.50 -203,364.49
-1,670.00 -205,034.49

-881.50 -205,915.99
-850.00 -206,765.99
-B01.48 -207 567.47
-797.70 -208,365.17
-721.08 -209,086.25
-711.91 -209,798.16
-685.54 -210,483.70
-678.45 -211,162.15
-659.08 -211,821.23
-613.35 -212,434.58
-599.54 -213,034.12
-596.17 -213,630.29
-591.87 -214,222.16
-570.76 -214,792.92
~558.99 -215,351.91
-549.83 -215,901.74
-546.02 -216,447.76
-543.69 -216,991.45
-540.86 -217,532.31
-539.30 -218,071.61
-536.47 -218,608.08
-516.19 -219,124.27
-500.00 -219,624.27
-500.00 -220,124.27
-496.58 -220,620.85
-494.37 -221,115.22
-485.31 -221,600.53
-484.28 -222,084.81
-481.40 -222,566.21
-480.99 -223,047.20
-469.14 -223,516.34
-460.44 -223,976.78
-448.88 -224,425.66
-446.28 -224,871.94
-437.78 -225,309.72
-420.81 -225,730.53
-415.28 -226,145.81
-413.12 -226,558.93
-405.32 -226,964.25
-404.13 -227 368,38
-392.97 -227,761.35
-386.86 -228,148.21
-373.67 -228,521.88
-371.47 -228,893.35
-358.38 -229,251.73
-356.95 -229,608.68
-348.59 -229,957.27
-347.63 -230,304.90
-333.09 -230,637.99
-321.38 -230,959.37
-311.74 -231,271.11
-309.78 -231,580.89
-308.80 -231,889.69
-303.76 -232,193.45
-282.43 -232,475.88
-281.95 -232,757.83
-281.36 -233,039.19
-275.41 -233,314.60
-268.79 -233,583.39
-266.14 -233,849.53
-261.11 -234,110.64
-260.51 -234,371.15
-246.88 -234,618.03
-232.50 -234,850.53
-231.86 -235,082.39
-225.94 -235,308.33
§:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 08/16/2017 8355 Seepersaud., Amanda
Paycheck 08/16/2017 8331 Martinez, Naomi
Paycheck 08/16/2017 8303 Alston, Quadajaah
Paycheck 08/16/2017 8357 Sylvestre., Amanda
Paycheck 08/16/2017 8364 Wells., Tatasha Lee
Paycheck 08/16/2017 8346 Rodriguez., Anibal
Paycheck 08/16/2017 8317 Floyd., Julissa
Paycheck 08/16/2017 8361 Traore, Bakary
Paycheck 08/16/2017 8309 Charles, Christian
Paycheck 08/16/2017 8305 Birch., Brittany
Paycheck 08/16/2017 8353 Santana., Indismel
Paycheck 08/16/2017 8308 Castro, Maria
Paycheck 08/16/2017 8368 Zon, Ibrahim
Liability Check 08/16/2017 E-pay State of New Jersey
Bill Pmt -Check 08/17/2017 8397 Balter Sales Compa...
Bill Pmt -Check 08/17/2017 8408 Kseniya Lozano
Bill Pmt -Check 08/18/2017 8392 Rockwell Group Ltd
Paycheck 08/23/2017 Dones, Cesar
Paycheck 08/23/2017 Morales., Diego
Paycheck 08/23/2017 Kandioura., Barry
Paycheck 08/23/2017 Yamazaki., Pedro
Paycheck 08/23/2017 Roye., Chelsea
Paycheck 08/23/2017 Chung., Rwanda
Paycheck 08/23/2017 Konate., Abdel
Paycheck 08/23/2017 Petrosyants., Robert
Paycheck 08/23/2017 Tapsoba, Rasmane
Paycheck 08/23/2017 Mcleod., Herman
Paycheck 08/23/2017 Rodriguez., Zoey
Paycheck 08/23/2017 Kone., Idrissa
Paycheck 08/23/2017 Quedraogo., Ismael
Paycheck 08/23/2017 Castillo., Alberto
Paycheck 08/23/2017 Kabore., Madi
Paycheck 08/23/2017 McCulloch., Courtney
Paycheck 08/23/2017 Rysyk., Lyubomyr
Paycheck 08/23/2017 Vargas, Marco
Paycheck 08/23/2017 Herrera., Eriberto
Paycheck 08/23/2017 Babatunde, Jamiu
Paycheck 08/23/2017 Kinda, Aime
Paycheck 08/23/2017 Aguilar, Javier
Paycheck 08/23/2017 Garcia., Anyely
Paycheck 08/23/2017 Mrani., Mouna
Paycheck 08/23/2017 Traore., Drissa
Paycheck 08/23/2017 Arsene, Tienrebeogo
Paycheck 08/23/2017 Alston, Quadajaah
Paycheck 08/23/2017 Auguste, Eder
Paycheck 08/23/2017 Castro, Maria
Paycheck 08/23/2017 Shaw., Prema
Paycheck 08/23/2017 Piccolo., James
Paycheck 08/23/2017 Compoare., Aziz
Paycheck 08/23/2017 Wandaogo., Abdoul
Paycheck 08/23/2017 Toure., Malick
Paycheck 08/23/2017 Abrorov {2}, Djamshed
Paycheck 08/23/2017 Ndiaye, Pape
Paycheck 08/23/2017 Fiumefreddo., Audra
Paycheck 08/23/2017 Keita., Cheik
Paycheck 08/23/2017 Hoo-Fong., Paul
Paycheck 08/23/2017 Seepersaud., Amanda
Paycheck 08/23/2017 Aguaiza., Luis
Paycheck 08/23/2017 Compaore., Saidou
Paycheck 08/23/2017 Mddidarul., Alam
Paycheck 08/23/2017 Bowater-Skelly., Aedn
Paycheck 08/23/2017 James., Eric
Paycheck 08/23/2017 Sanfo, Prince
Paycheck 08/23/2017 Clyne, Jonathan
Paycheck 08/23/2017 Roque., Jose
Paycheck 08/23/2017 Ramirez, Nicolas
Paycheck 08/23/2017 Block., Amber K
Paycheck 08/23/2017 Dixon, Shakeem

Page 16
Unaudited Statement

Cir

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

Amount Balance
-216.42 -235,524.75
-214.72 -235,739.47
-200.26 -235,939.73
-198.32 -236,138.05
-197.77 -236,335.82
-189.12 -236,524.94
-167.04 -236,691.98
-131.63 -236,823.61
-126.65 -236,950.26
-126.25 -237,076.51
-124.62 -237,201.13
-109.47 -237,310.60

-50.52 -237,361.12
-23.43 -237,384,.55
-669.37 -238,053.92
-220.00 -238,273.92
-4,424.00 -242,697.92
-852.40 -243,550.32
-775.03 -244,325.35
-721.55 -245,046.90
-711.92 -245,758.82
-697.26 -246,456.08
-658.60 -247,114.68
-614.52 -247,729.20
-613.34 -248,342.54
-603.42 -248,945.96
~598.22 -249,544.18
-567.66 -250,111.84
-561.22 -250,673.06
-555.59 -251,228.65
-550.16 -251,778.81
-543.51 -252,322.32
-536.56 -252,858.88
-490.00 -253,348.88
-477.20 -253,826.08
-475.58 -254,301.66
-473.88 -254,775.54
-473.15 -255,248.69
-472.04 -255,720.73
-470.28 -256,191.01
-466.79 -256,657.80
-461.11 -257,118.91
-454.62 -257,573.53
-442.88 -258,016.41
-442,21 -258,458.62
-438.72 -258,897.34
-437.23 -259,334.57
-427.11 -259,761.68
-387.83 -260,149.51
-380.80 -260,530.31
-374.65 -260,904.96
-371.75 -261,276.71
-366.13 -261,642.84
-366.02 -262,008.86
-364.53 -262,373.39
-360.44 -262,733.83
-345.57 -263,079.40
-345.06 -263,424.46
-337.22 -263,761.68
-332.77 -264,094.45
-330.06 -264,424.51
-307.95 -264,732.46
-303.07 -265,035.53
-302.10 -265,337.63
-294.74 -265,632.37
-289.83 -265,922.20
-289.68 -266,211.88
-274.24 -266,486.12
5:22 PM
08/17/17

Case 1-1 /-40104-Ccec

Prime Six Inc DBA Woodland 2017

Reconciliation Detail

New Checking Signature 4241, Period Ending 07/31/2017

 

Type Date Num Name
Paycheck 08/23/2017 Foster,, Andrew
Paycheck 08/23/2017 Taylor, Fabian
Paycheck 08/23/2017 Zida, Maomet
Paycheck 08/23/2017 Quinones, Abigail
Paycheck 08/23/2017 Santana., indismel
Paycheck 08/23/2017 Mosley., Tarren
Paycheck 08/23/2017 Charles, Christian
Paycheck 08/23/2017 ZAVGARDONIAIA., ...
Paycheck 08/23/2017 Martinez, Naomi
Paycheck 08/23/2017 Wells., Tatasha Lee
Paycheck 08/23/2017 Scott., Sean
Paycheck 08/23/2017 Kigan., Joseph A
Paycheck 08/23/2017 Moldovan., Amanda
Paycheck 08/23/2017 Birch., Brittany
Paycheck 08/23/2017 Murphy., Joshua
Paycheck 08/23/2017 Thomas, Laura
Paycheck 08/23/2017 Floyd., Julissa
Paycheck 08/23/2017 Sylvestre., Amanda

Total Checks and Payments

Deposits and Credits - 21 items

Deposit
Paycheck
Deposit

Bill Pmt -Check
Bill Pmt -Check
Deposit

Bill Pmt -Check
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit
General Journal
Deposit
Deposit
Deposit
Deposit
Deposit
Deposit

Total Deposits and Credits

08/01/2017
08/02/2017
08/02/2017
08/03/2017
08/03/2017
08/03/2017
08/04/2017
08/04/2017
08/07/2017
08/07/2017
08/07/2017
08/08/2017
08/08/2017
08/09/2017
08/10/2017
08/10/2017
08/11/2017
08/11/2017
08/14/2017
08/14/2017
08/15/2017

Total New Transactions

Ending Balance

8117

8280
8283

8289

151R

Doucoure., Mohamed

Jason Rodriguez
MAS Security Assoc...

Multi-Flow Industries

Sonnier., Marclynn

Page 17
Unaudited Statement

Cir

SSS2S235 S5352222=2 8S

Docol Filed Oo/ézilf Entered Voiécilf OD 40l52

 

 

 

 

 

Amount Balance
-257.25 -266,743.37
-254.17 -266,997.54
-230.10 -267 227.64
-216.97 -267 444.61
-207.21 -267 651.82
-206.53 -267 858.35
-204,52 -268,062.87
-202.98 -268,265.85
-198.82 -268 464.67
-188.46 -268,653.13
-184.78 -268,837.91
-173.65 -269,011.56
-154.71 -269, 166.27
-151.10 -269,317.37
-150.38 -269,467.75
-136.04 -269,603.79
-124.16 -269,727.95
-117.89 -269, 845.84

-269,845.84 -269,845.84
30,783.70 30,783.70
0.00 30,783.70
2,991.21 33,774.91
0.00 33,774.91

0.00 33,774.91
3,791.43 37,566.34
0.00 37,566.34
5,803.87 43,370.21
1,000.00 44,370.21
4,014.16 48,384.37
17,432.37 65,816.74
17,000.00 82,816.74
41,349.21 124,165.95
1,562.88 125,728.83
239.98 125,968.81
4,728.15 130,696.96
200.00 130,896.96
3,761.98 134,658.94
6,642.12 141,301.06
27,214.42 168,515.48
32,338.50 200,853.98
200,853.98 200,853.98
-68,991.86 -68,991.86
-91,890.31 -91,733.88

 

 
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

565 Fifth Avenue, 12" Floor
New York, NY 10017

fi

4

  

Statement Period

From July 01, 2017
To July 31, 2017
Page 1 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 438

EFFECTIVE AUGUST 1, 2017, WE HAVE REVISED SIGNATURE BANK'S PERSONAL AND
BUSINESS BANK ACCOUNT AGREEMENTS AND DISCLOSURE BOOKLETS. PRINTED, UPDATED
BOOKLETS WILL BE AVAILABLE AT OUR PINANCIAL CENTERS OR AS A PDF FILE ON THE
“AGREEMENTS AND DISCLOSURES" PAGE UNDER 'ABOUT US' AT WWW, SIGNATURENY.COM.

 

BANK DEPOSIT ACCOUNTS
150273424] BANKRUPTCY CHECKING

156.43 2,226.67

RELATIONSHIP TOTAL 2,226.67
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July 01, 2017
To July 31, 2017
Page 2 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO
PRIME SIX INC, DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account; 1502734241 436
BANKRUPTCY CHECKING 1502734241
Summary
Previous Balance as of July 01, 2017 156.43
33 Credits 386,335.15
484 Debits 384,264.91
Ending Balance as of July 31, 2017 2,226.67
Deposits and Other Credits Pa
Jul 03 ACH DEPOSIT ck/ref no, 5222002 3,315.44
MERITCARD MERCH DEP 960000009035908
002 000000000003315449000008960 <.
Jul 03 ACH DEPOSIT ck/ref no. 5227089 32,869.56
MERITCARD MERCH DEP 960000009035908
002 000000000032869569000008960
Jul 0S ACH DEPOSIT ck/ref no. §317038 6,169.19 Cc
MERITCARD MERCH DEP 960000009035908
002 000000000006189199000008960
Jul 0S ACH DEPOSIT ck/ref no. §281016 31,115.96
MERITCARD MERCH DEP 960000009035906
002 000000000031115969000008960 LZ
Jul 06 ACH DEPOSIT ck/ref no. §424220 8,070.60
MERITCARD MERCH DEP 960000009035908 ;
002 000000000008070609000008960 a“
Jul 07 ACH DEPOSIT ck/ref no, 5452456 1,022.94
ADP TAX ADP TAX RZMTA 2151393VV ee
Jul 07 ACH DEPOSIT ck/ref no. 5499257 3,260.95
MERITCARD MERCH DEP 960000009035908
002 000000000003260959000008960
Jul 07 DEPOSIT 6,500.00
Jul 10 ACH DEPOSIT ck/ref no, 5557359 3,672.32
MERITCARD MERCH DEP 960000009035908

002 000000000003672329000008960
ey.

Jul

Jul

Jul

Jul
Jul

Jul

Jul

Jul

Jul
Jul

Jul

Jul

Jul

Jul

Jul

10

11

12

12
13

14

17

17

17
18

19

20

21

24

24

  

Case 1-1 /-40104-Ccec

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION

CASE H 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000024737529000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000026464779000008960
ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000001661579000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000001655989000008960
ACH DEPOSIT ck/ref no.

MERITCARD MERCH DEP

002 000000000004401609000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000004768629000008960
ACH DEPOSIT ck/ref no.

MERITCARD MERCH DEP

002 000000000034621169000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000030358659000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 0000000000027928659000008960
ACH DEPOSIT ek/ref no.

MERITCARD MERCH DEP

002 000000000002992909000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000003274789000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

002 000000000007435099000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

SIGNATURE BANK

9-421

5579376
960000009035908

5641190
960000009035908

5683200
960000009035908
5769467

960000009035908

5820486
960000009035908

5682801
960000009035908

5917077
960000009035908
5970827

960000009035908

6029033
960000009035908

6074313
960000009035908

6141942
960000009035908

6197179
960000009035908

6217428
960000009035908

Docol Filed Oo/ézilf Entered Voiécilf OF 40l52

t= TL AS plupli cates
aed /
1H 4

Statement Period

From July Ol, 2017
To July 31, 2017
Page 3 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account; 1502734241 438

24,737.52 “—

26,464.77 —
1,661.57 <—
-

10,000.00
1,655,984

4,401.60 &

4,768.62

34,621.16

LO

13,000.00
30,350.65

2,792,685
2,992.90 C

3,274.78 o

7,435.09

26,471.08 a
SF

Date

Jul

Jul

Jul
Jul

Jul

Jul
Jul
Jul

Jul

25

26

26
27

28

28
28
31

31

  

Case 1-1 /-40104-Ccec

pi

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION

CASE 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

Description
002 000000000026471059000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP
002 0000000000298958890000085960
ACH DEPOSIT ck/ref no,

MERITCARD MERCH DEP
002 000000000002080399000008960
DEPOSIT

ACH DEPOSIT ck/ref no.
MERITCARD MERCH DEP

002 000000000002189329000008960
ACH DEPOSIT ck/ref no,

MERITCARD MERCH DEP
002 000000000004727429000008960
DEPOSIT ref¥#

DEPOSIT

ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP

oo2 000000000004086889000008960
ACH DEPOSIT ck/ref no,
MERITCARD MERCH DEP
002 000000000031926769000008960

Withdrawale and Other Debits

Jul

Jul

Jul

Jul

Jul

Jul

Jul

03

03

03

03

03

0S

05

ACH ek/ref no.
ADP TAX ADP TAX
AUTOMATED PAYMENT ck/ref no.
ADP TAX ADP TAX
AUTOMATED PAYMENT ek/ref no.
AMEX EPAYMENT ACH PMT
AUTOMATED PAYMENT ck/ref no.
MERITCARD FEES
AUTOMATED PAYMENT ck/ref no.
NYS DTF SALES TAX PAYMNT

OUTGOING WIRE XFER

REF# 20170705B6B7261F001470
TO: ADP

BANK: DBTCO AMERICAS NYC
PRE-AUTHORIZED WD

DOC ol

SIGNATURE BANK

9-421

999

6262578
960000009035908

6321643
960000009035908

6379145
960000009035908

6454659
960000009035908

6534805
960000009035908

6541639
960000009035908

5091665
RZMTA 062805A03
5167919
RZMTA 063006A01
5232350
W5182
5218912
960000009035908
5186649
000000021129871

ABA:

Filed Vofézil f

entered Voié2i lf OF 40152

Statement Period

From July QO1, 2017
To July 31, 2017
Page 4 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

021001033
ACCTH 00153170

See Back for Important Information

Primary Account:

1502734241

438

29,895.68
2,080.39

14,000,00
2,189,32

4,727.42

3,000.00
3,775.00
4,086.88

31,926.76

4,911.56
379,54

1,500.00

dup, 5924-25
8,000.00

4,868.04

16,573.18

Z
<

<

Lf
x

<

KANN AS
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

fi

   
 

SIGNATURE BANK

  

Statement Period

From July O01, 2017
To July 31, 2017
Page 5 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
See Back for Important Information

BROOKLYN NY 11214 999
Primary Account: 1502734241 438
Date Description So
Jul 05 WIRE TRANSFER FEE 25,00
REFH 20170705B6B7261F001470
TO; ADP ABA: 021001033
BANK: DBTCO AMERICAS NYC ACCTH 00153170 “a
Jul 05 AUTOMATED PAYMENT ck/ref no, 5281020 139.84
MERITCARD MERCH CHBK 960000009035908
Jul 06 AUTOMATED PAYMENT ck/ref no, 5375006 1,971.88 ‘a
SWS OF AMERICA CORP PMT 450000000343059
Jul 07 RETURNED ITEM FEE 50.00 <
Jul 07 AUTOMATED PAYMENT ck/ref no. 5435242 286.44 x
ADP PAYROLL FEES ADP - FEES 2RMTA 9185054
Jul 10 ACH ck/ref no. 5469916 1,045,20 <
TRASHBILLING. COM 59320(0} 7593200017590 4
Jul 10 ACH ek/ref no, 5499966 7,352,862
EMPIREMERCHANTS INVOICE (S) 3996862
Jul 10 AUTOMATED PAYMENT ek/ref no, 5564837 8,000.00
NYS DTF SALES TAX PAYMNT 000000021207161 t “a
Jul 11 RETURNED ITEM FEE 25.00
Jul 11 AUTOMATED PAYMENT ek/ref no, 5639046 10,754.30
EMPIREMERCHANTS INVOICE(S) 4797121 LS
Jul 12 RETURNED ITEM FEE 25.00 —
Jul 12 AUTOMATED PAYMENT ck/ref no, 5688433 445,94
CAROUSEL CHECKS INTERNET 043000098849970 a
Jul 12 AUTOMATED PAYMENT ck/ref no. 5670302 3,966,19
SWS OF AMERICA CORP PMT 450000000344785
Jul 14 RETURNED ITEM FEE 100,00 <
Jul 14 AUTOMATED PAYMENT ck/ref no. 5703031 auf fe 51,96 —~
ADP PAYROLL FEES ADP - FEES 2RMTA 9566769 a
Jul 417 PRE-AUTHORIZED WD 33,869.13
Jul 18 ACH ck/ref no. 5885035 6,000.00 <
NYS DTF SALES TAX PAYMNT 000000021494260
Jul 19 RETURNED ITEM FEE 25.00 <<
Jul 19 AUTOMATED PAYMENT ck/ref no. 6000260 75.00 <—
SUPER PC SYSTEMS PURCHASE 39732008 Z
Jul 20 AUTOMATED PAYMENT ck/ref no, 6074383 30.31
MERITCARD MERCH CHBK 960000009035908 —
Jul 20 AUTOMATED PAYMENT ck/ref no. 6087799 2,430.27

NYS DTF SALES TAX PAYMNT 000000021571687
See

Case 1-1 /-40104-Ccec

    

PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999
Primary Account:
Jul 21 AUTOMATED PAYMENT ck/ref no, 6099488
ADP PAYROLL FEES ADP - FEES 2RMTA 0499784
Jul 24 ACH ck/ref no, 6098940
NATIONAL GRID NY UTILITYPAY 00182240282
Jul 24 AUTOMATED PAYMENT cek/ref no. 6179964
N¥S DTF SALES TAX PAYMNT 000000021694532
Jul 25 AUTOMATED PAYMENT ck/ref no. 6223306
IRS USATAXPYMT 225760620227070
Jul 25 AUTOMATED PAYMENT ck/ref no, 6238359
NYS DTF WT TAX PAYMNT 000000021722503
Jul 25 AUTOMATED PAYMENT ck/ref no, 6238360
NYS DTF WT TAX PAYMNT 000000021722505
Jul 25 AUTOMATED PAYMENT ek/ref no, 6223307
IRS USATAXPYMT 225760620782446
Jul 26 RETURNED ITEM FEE
dul 26 AUTOMATED PAYMENT ck/ref no, 6295306
BILLMATRIX BILLPAYFEE 13295278182
Jul 26 AUTOMATED PAYMENT ck/ref no, 6295853
VERIZON PAYMENTONE 7183993926205
Jul 26 AUTOMATED PAYMENT ck/ref no. 6295343
VERIZON AGENT WE BILL PAY 13295278181
Jul 26 AUTOMATED PAYMENT ck/ref no. 6296857
TIMB& WARNER CABL CABLE PAY 0010175010 SPA
Jul 26 AUTOMATED PAYMENT ck/ref no. 6300943
AMEX EPAYMENT ACH PMT W7782
Jul 26 AUTOMATED PAYMENT ck/ref no. 6292349
CON ED OF NY INTELL CK 611404470800041
Jul 27 AUTOMATED PAYMENT ck/ref no. 6370661
MERITCARD MERCH CHBK 960000009035908
Jul 28 RETURNED ITEM FEE
Jul 31 AUTOMATED PAYMENT ck/ref no. 6543755
AMEX EPAYMENT ACH PMT M0574
Jul 31 AUTOMATED PAYMENT ck/ref no. 6536406
NYS DTF SALES TAX PAYMNT 000000021903299
Checks by Serial Number é
Jul 10 7554 694,12 Jul 03 7593 * 394,
Jul o3pyip- &7588 * 239.75 £ gul 11 7605 * 377.
Jul 03 Dup #7589 775 ,00¢ Jul 03 7611 * 195,
Jul 06 7891 * Jul 17 7614 * 1,939.

4D

DOC ol

SIGNATURE BANK

Filed Oo/édzilf Entered Voicédaiif OF 40152

Statement Period
From July

To
Page

July

6

Ql,
31,
13

2017
2017

PRIVATE CLIENT GROUP 421
26 COURT STREET

BROOKLYN,

SAL MONACO

1502734241

NY 11242

See Back for Important Information

438

136.96

‘4

1,391.46

6,000.00 <
1709.06
2155.17
7,997.55

50.00%

3.500
299,01
400,00
868.07

1,500.00
2,785.00
151.34

25,00
Du (- 2,500.00

6,000.00

KN NNN
DF

Date
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
dul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214

Serial Nbr Amount
03 7618 * 382,00
05 7630 * 390,80“
12 7632 * 65,00
26 7633 800,00%
0S 7638 * 500,00
03 Dup % 7639 1,150.0 Se
0s 7640 449,927
10 K 7641 721.28
07 7643 * 1,058.22”
06 1644 1,490,00%
07 7645 6,790.00%
07 DARK 7646 630.565
05 7647 500.007
05 7648 500.00%
05 7649 522.007
14 7650 692.18
07 7651 202,957
12 7652 572.60
i 7653 400.00,
17 7654 200. 00°,
12 7656 * 1,078.49
ll 7657 501.15~
19 7658 1,496.00%
11 7659 1,284,117
10 7661 * 500.00~
li 7662 770.,00¢
17 71663 4,572.00¢
10 1664 163.25°
a7 7666 * 500,00 ©
17 7667 500.00
11 7668 330.62~
17 | 208.74¢ /
10 N 1
10 ; . a
0? 1672 651.00
10 1674 * 436.82 ~
10 7675 225,38
18 7676 344,05,
10 1677 472.00

  

C

afta

    

ase 1-1 /-40104-CeC

PRIME SIX INC. DBA WOODLAND
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC

DOC ol

SIGNATURE BANK

Date
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul
Jul

Filed Oo/édzilf Entered Voicédaiif OF 40152

11
11
28
11
12
07
11
12
17
11
12
12
10
il
il
31
11
11
11
11
06
10
10
12
10
10
06
06
12
11
06
18
il
20
06
11
i1
07
12

9-421

Serial Nbr

7678
7679
7680
7661
7682
7684
7685
7686
7687
7688
7689
7690
7692
7692
7693
DUP 47694
7695
7696
7697
7698
7699
7700
7701
7702
7703
7704
7705
7706
7707
7708
7709
7710
TILL
DUP. 7712
7713
7714
7715
7716
7717

Primary Account:

Statement Period

From July 01, 2017
To July 31, 2017
Page 7 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

1502734241 438

Amount
374.547.
335.497
130,207
365,25~
392.60
198.00
303,097
103.15
254.61
268.45~
234.64
659,40.
506.507
339.567
510.76
257,347
473.907
464,79~-
120.977
335.62-
187,22~
181,.16-
310,92-
146.937
427.24-
748,.58~
391,047
324,807
242.547
182.720
382,95
252.77
516.05
413.517

421.08 ~

ot Tb4l 72 checks wp ths AF fw Af amounts
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

ili SIGNATURE BANK
Statement Period
From July 01, 2017
To July 31, 2017
Page 8 of 13
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC. DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 438
Date Serial Nbr Amount Date Serial Nbr Amount
Jul 10 7718 433.96 ~ Jul 19 71762 180.00
dul 11 7719 456.76“ Jul 17 7763 113.00
Jul ii 7720 181.89” Jul 19 7764 1,152.85 <
Jul 10 7721 169.97 % Jul 11 1766 * 337,007
Jul 07 7722 220,097 Jul 18 7768 * 179.25<
Jul 07 7723 172.437 Jul 14 7770 * 581.297
Jul 11 7724 594.10” Jul 21 7771 453.597
Jul 11 7725 467,447 Jul 18 7772 1,213,50°
Jul il 7726 1,213,857 Jul 14 7773 166,530
Jul 06 7727 305,077 Jul 18 1774 143,927
Jul 10 7728 468.40% Jul 18 71775 398,93 <
Jul ii 7730 * 660,927 Jul 25 71776 145.21 7
Jul ii 7731 614,732 Jul 18 7777 684,09
Jul 10 7732 349.17¢ Jul 17 7779 547,64
gul 10 7733 576,007 Jul 47 7780 146,20”
Jul 12 7734 459.33 gul 14 7781 632.86
Jul 10 7735 565.007 Jul 14 7782 706.62
Jul 10 7736 606,717 Jul 17 7783 524.74
Jul 10 7737 529.34¢ Jul 18 7784 433.40
Jul 10 7738 472,347 Jul 18 7785 283,71
Jul il 7739 564.717 Jul 18 7786 493.72 —
Jul 11 7740 503.90¢ dul 14 7787 609.14
Jul 10 7741 267.10~ gul 19 7788 211,94<
Jul 18 7742 424,955 Jul 16 7789 460.13
Jul 17 7743 256.770 Jul 18 7791 * 611.51
Jul 21 7744 353.10 Jul 18 71792 312.59
Jul 17 7746 * 331.152 Jul 19 7793 208.587
Jul 18 V7A7 321.20< gul 14 7794 723,86~
Jul 17 71748 400,007 Jul 18 7795 143.817
gul 17 7750 * 744.14¢ Jul 18 7796 424.75
Jul 17 7751 502.66° Jul 13 7797 513.57
Jul 17 7752 1,235,007 Jul 17 7798 507.31
Jul 12 7784 * 1,905.00 Jul 17 7799 196.527
Jul 12 7755 646,077 gul 13 7800 469.42
Jul 17 7756 850.00< Jul 18 7801 138.39
Jul 17 7757 106.00- Jul 18 7802 232.43~
Jul 18 7758 1,025.00 Jul 18 7803 106.28
Jul 24 7759 5,010.00¢ Jul 17 pup. M7805 * 467,49

Jul 21 7761 * 1,026,364 Jul 18 7806 706,50
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

fie Ye SIGNATURE BANK
Statement Period
From July Ol, 2017
To July 31, 2017
Page 9 of 13
PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242
SAL MONACO
PRIME SIX INC, DBA WOODLAND 9-421
DEBTOR IN POSSESSION
CASE # 1 17 40104 CEC
15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999 See Back for Important Information
Primary Account: 1502734241 438
Date _ Serial Nbr Amount Date Serial Nbr Amount _
Jul 1? tyr K 1907 420.12% Jul 26 7860 * 308.03”
Jul 14 pyp, #7808 264.697 Jul 31 7861 1,735,007
Jul 18 7009 341,45 Jul 24 7863 * 668.937
gul 17 PUP de7e11 * 322.98 Jul is 7864 373.85
Jul 18 7612 146,767 Jul 24 7866 * 232,197
Jul 24 7813 431,227 Jul 18 7067 534,28
Jul 31 7914 451.677 Jul 21 7868 774.007
Jul 18 7815 402.71 Jul 31 7869 573.41
Jul 18 7016 438.327 Jul 24 7871 * 365.65 ~
Jul 17 7017 289.817 gul 31 7872 439,487
Jul 19 7818 351.857 Jul 24 7873 292.26%
Jul 18 7819 519,63” Jul 24 7874 409,257
Jul 18 7820 122,137 Jul 25 7875 468.83
Jul 13 puf- 7821 378.247 Jul 24 7876 331,33 %
Jul 17 prez? 328,987 Jul 25 7877 412.937
Jul 18 7823 433,477 Jul 24 7878 455.99 °
Jul 16 7024 336,357 Jul 26 7880 * 536.94~
Jul 16 7027 * 316.527 Jul 24 7881 203,48%
Jul 18 7828 432,52~ Jul 27 7882 557,88
Jul 18 7829 385,55- Jul 25 7085 * 262.85°
Jul 17 K7830 483,207 Jul 24 7886 490.70~
Jul 24 7831 284,53 ~ Jul 25 7887 546.33~
Jul 18 7032 393.17 ~ Jul 31 7888 316,96~
Jul 17 7833 277,777 Jul 24 7889 305.22%
Jul 24 7034 356.14~ Jul 25 7850 120,28 ~
Jul 18 7835 360.67~ Jul 24 7891 404,11°
gul 17 7836 212.217 Jul 27 7892 154,.36°
Jul 18 7837 132.597 Jul 24 7993 331.54~
Jul 17 7838 419.797 Jul 24 7894 465.00
Jul 17 7839 412,967 gul 25 7895 616.50~
Jul 18 7841 * 338.44- Jul 24 7896 457,26
Jul 18 7042 5,362.50° gul 25 7997 235,497
Jul 31 7843 236.987 Jul 25 7896 236,52 “
Jul 24 7044 280.00° Jul 25 7903 * 793.07
Jul 26 7846 * 1,321.597 Jul 25 7904 1,213.49”
Jul 25 7653 * 1,633,64- gul 24 7905 151.41
Jul 27 7855 * 202,80” Jul 25 7913 * 691.22~
Jul 27 7856 206.097 Jul 25 7914 746.487

Jul 25 7857 400.007 Jul 25 7916 * 153,717
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

   

Statement Period

From July 01, 2017
To duly 31, 2017
Page 10 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC, DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE H 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account; 1502734241 438

Date Serial Nbr Amount Date Serial Nbr Amount
Jul 25 7917 602.79 Jul 24 7968 500,00
Jul 25 7918 208.48~ Jul 24 1969 500.00’
Jul 25 7920 * 784,707 Jul 21 7970 a50,00~
Jul 25 7921 138,44 gul 31 7971 1,276,347
Jul 25 7922 520,15/ Jul 25 7973 * 1,100,007
Jul 24 7923 459,08” gul 25 7974 397.26°
Jul 31 §,7924 590,23- Jul 24 7975 496.86 _
Jul 24 7928 * 249,95 ~ Jul 26 7977 * 573.05
Jul 25 7931 * 723,887 Jul 24 7978 5,130.00~
Jul 24 7932 74.027 Jul 31 7979 134,767
Jul 26 7933 90.32° Jul 27 7980 352,10
Jul 24 7934 522.187 Jul 28 7981 179,24
Jul 25 7935 569.03- Jul 31 7982 384.877
Jul 25 7936 192.577 gul 31 7985 * 692.007
Jul 24 7937 471,927 Jul 25 7986 400,007
Jul 24 7938 78.217 dul 31 7989 * 420,00
Jul 25 7939 702.07~ Jul 24 7990 500,00~
Jul 24 7940 469.42° Jul 24 7991 590,237
Jul 18 7942 * 1,008,56~ Jul 31 7993 * 338.457
Jul 28 7943 206.13~ dul 27 7998 * 634.75~
Jul 24 7945 * 480,977 Jul 31 7999 270,917
Jul 24 71946 449.12~ Jul 27 8003 * 214,697
Jul 26 7947 607,027 Jul 31 004 326.49
Jul 24 7948 466.64~ Jul 27 g006 * 484.67
Jul 24 7951 * 226.757 Jul 27 e008 * 623.997,
Jul 24 7952 542.887 Jul 31 B009 513.43
Jul 28 7953 188,657 Jul 31 eoll * 560,62 ~
Jul 25 7954 675,767 Jul 31 8012 386,36
Jul 25 7955 668,357 Jul 28 8013 705.747
Jul 24 71956 158.417 Jul 28 8014 167.367
Jul 24 7959 * 364.657 Jul 31 8015 415.22",
Jul 25 7960 569,127 gul 31 8016 570.02
Jul 26 7961 123.757 Jul 28 8017 191,00°
Jul 31 7962 595,677 Jul 27 8018 201.40
gul 25 7963 115,757 Jul 26 8019 765,967
Jul 24 1964 396,327 Jul 31 8020 405,217
Jul 24 7965 396.61~ gul 31 8021 440.547
Jul 24 1966 447.047 Jul 31 9022 531.347

Jul 25 7967 731,18 a“ Jul 31 8023 613,34—~
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

 

Statement Period

From July Ol, 2017
To July 31, 2017
Page 11 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

   
  
 

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE 4 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 1502734241 438

Date Serial Nbr Amount _ Date Serial Nbr Amount
Jul 31 8024 396.917 Jul 31 so6l 1,437.13
Jul 27 e027 * 534.05" Jul 31 8177 * 417.26 ~
Jul 31 8028 85,97 | Jul 18 100583 * 395.00 ax
Jul 27 8032 * 147,06 dul 18 100711 * 428.50
Jul 31 8033 159.61 Jul 05 100813 * 259.56 ~
Jul 28 6034 159,82 Jul 18 100820 * 472.947
Jul 31 8035 625,20 Jul 03 100879 * 203.54
Jul 31 8036 633.65~° Jul 17 100864 * 247.94
Jul 31 8037 191.04~ Jul 11 100885 2abt22 7
Jul 27 8038 457,137 Jul 05 100906 * 410,91
Jul 28 8040 * 777.587 Jul 05 100916 * 484.96
Jul 27 $041 467,257 Jul 05 100919 282.79
Jul 28 8042 50.567 Jul 05 100944 * 232.577
Jul 31 g044 * 466.717 Jul 03 100946 * 479,02
Jul 27 8046 * 399.3777 Jul 17 100950 * 54.56
Jul 31 8047 356,59 Jul 05 100970 * 191.51
Jul 31 8048 356.61~ dul 05 100975 * 471,780
Jul 31 6051 * 567,507 Jul 05 100984 * 357,877
Jul 31 8052 432.057 Jul 03 100990 * 1,213,847
Jul 27 8056 * 462.89 Jul 20 100999 »* 225,02
Jul 31 6057 175.957 Jul 03 101002 * 211.87
Jul 31 8058 275.467 Jul 03 101006 * 442.437
Jul 31 8059 310,717 Jul 05 101007 418,78
Jul 31 8061 * 330.64- Jul 03 101008 200.807
Jul 27 8062 249,33 Jul 05 101009 591,43
Jul 31 8063 555.05~ Jul os 101010 397,617
Jul 27 8064 407,84~ Jul 03 101011 393.16
Jul 26 9067 * 393.507 Jul 03 101012 404,027
Jul 26 8068 498.007 Jul 24 101013 214.58
Jul 28 9069 850.00% Jul 0S 101014 331.067,
Jul 31 8070 500.00¢ Jul 05 101015 379.70
Jul 31 8071 $00.007 Jul 03 101016 206.22
Jul 32 8073 * 890,00~ Jul 03 101018 * 539,70 ~
Jul 31 008074 485.12 ~ gul 12 101019 258,032,
Jul 31 8075 705.80" Jul 05 101020 287,03
gul 31 673.82/2- Jul ili 101022 349,607
Jul 28 3 6,640.00". Jul 03 101022 170.837
Jul 31 8078 315.16 Ll Jul 03 101023 706.95

Jul 26 eoB0 * 330.00 Jul 05 101025 * 417,02
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

oF fir¢_ | SIGNATURE BANK

 

Statement Period

From July Ol, 2017
To July 31, 2017
Page 12 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

PRIME SIX INC. DBA WOODLAND 9-421

DEBTOR IN POSSESSION

CASE # 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2

BROOKLYN NY 11214 999 See Back for Important Information

Primary Account: 150273424] 436
Date Serial Nbr Amount Date Serial Nbr Amount 4
Jul 10 1901026 126.66 Jul 05 101051 410.42
Jul 03 101027 319.787 gul 0s 101052 132.207
Jul 06 101028 267.087 Jul 05 101053 §93.28
Jul 05 101029 438.467 dul 05 101054 600,51%
Jul 05 101030 160.20” Jul 05 101055 436.99%
Jul 03 101031 369,167 Jul 03 101056 1,213.85
Jul 10 101032 580.037 Jul 03 101057 192.51~
Jul 03 191033 421,157 Jul 05 101058 479.46%
Jul 05 101034 260,53” Jul a3 101059 645.70
Jul 03 101035 624.477 Jul 05 101060 471.157
Jul 05 101038 * 263.607 Jul 03 101061 425,08~
Jul 03 101040 * 664,517 Jul 0s 101062 424.957
Jul 06 101042 614.727 dul 03 101063 524.197
Jul 03 101042 469.867 Jul 05 101064 527,197
Jul 18 101044 * 411,457 Jul 03 101065 196.417
Jul os 101045 343,99 Jul 05 101066 156.51
Jul 0s 101047 * 630.957 Jul 05 101067 544.60%
Jul 03 101048 18.567 Jul 10 101068 347.097
Jul 05 101049 368,537 Jul 03 101069 211.03 °
Jul 12 101050 161,69 Jul 06 101070 124,297
4 Indicates break in check sequence

Daily Balances
Jun 30 156.43 Jul 18 1,050.77
Jul 03 21.45 Jul 19 142,40
Jul 05 98.92 Jul 20 36.19
Jul 06 464,59 Jul 21 70.06
Jul 07 238.64 Jul 24 292,69
Jul 10 160. 86 Jul 25 379,29
Jul 12 297,25 Jul 26 4,971.90
Jul 12 269,86 Jul 27 170.63
Jul 13 §64,61 Jul 28 35.61
Jul 14 237,08 Jul 31 2,226.67

Jul 17 104.44
Case 1-1/-40104-cec DoCcol Filed Vo/édz/lf Entered Voizc/if O9i40i52

SIGNATURE BANK

D4

  

PRIME SIX INC. DBA WOODLAND

DEBTOR IN POSSESSION

CASE 4 1 17 40104 CEC

15 BAY 29TH STREET, FLOOR 2
BROOKLYN NY 11214 999

Rates for this statement period - Overdraft
Jul ol, 2017 14,000000 &

9-421

Statement Period

From July 01, 2017
To July 31, 2017
Page 13 of 13

PRIVATE CLIENT GROUP 421
26 COURT STREET
BROOKLYN, NY 11242

SAL MONACO

See Back for Important Information

Primary Account: 1502734241 438
